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RATE OF FELON PAROLEES RETURNED TO -
- CALIFORNIA PRISONS

CALENDAR YEAR 2006 -

Department of Corrections and Rehabilitation
Offender Information Services Branch
. Estimates and Statistical Analysis Section

Data Analysis Unit

Sacramento, California
April 2007

Reference Number: PVRET-2 .

Case 2:90-cv-00520-KJM-SCR Document 2242-2 Filed 05/24/07 Page 3-of 83

STATE OF CALIFORNIA
DEPARTMENT OF CORRECTIONS AND REHABILITATION

JAMES TILTON
Secretary

__K,W.PRUNTY
| ‘Undersecretary

ADULT OPERATIONS |

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Chief Deputy Secretary
LEA ANN CHRONES

Director (A), :
Division of Adutt Institutions

THOMAS HOFFMAN
Director,
: Division of Adult Parale Operations

STEPHEN F. CHAPMAN, Ph. D.
Assistant Secretary,
Office of Research

Ld. CARR, Ph. D.
Chief, Offender Information Services Branch

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Case 2:90-cV-00520-KJM-SCR Document 2242-2 Filed 05/24/07 Page 4 of 83

Data Analysis Unit Department of Corrections and Rehabilitation

Estimates and Statistical Analysis Section : State of California

. Offender Information Services Branch . ot April 2007

_ RATE OF FELON PAROLEES RETURNED TO
CALIFORNIA PRISONS

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_ Table 3 Female Felon Parolees Returned to Caltforia Prisons (CY 1976-06).....0:-....3

. Definitions and FORMULAS... sisesnrnteseetcnecueiniiensiiinaninsaniiuinuecieeteecs cf

Contact Pérson:

Cynthia Smith
Research Analyst H
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Internet fhittp:// www.cder.ca.gov/OffenderinfoS ervices/Reports/Offenderinformation.asp
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Data Analysis Unit Department of Comactions and-Rehabilliation

Eetimates and Statistical Analysis Section = oo cs . "Slate of Gatfeynla
Offender Infarmation Servicas Branch : ' : , April 2007
TABLE 1

TOTAL FELON PAROLEES RETURNED TO CALIFORNIA PRISONS
“NUMBER AND RATE* PER 100 AVERAGE DAILY POPULATION (ADP)**
CALENDAR YEAR 1976 THROUGH 2006. .

_ TOTAL FELON _ TOTAL FELON PAROLEES

AVERAGE DAILY| TOTAL FELON. - PAROLEES RETURNED | RETURNED TO CUSTODY
CALENDAR FELON ~ | PAROLEES RETURNED WITHANEWTERM | WITHOUT A NEW.JERM**
YEAR PAROLEE/PAL “(PV-RETs) _ (PV-WNTa) -. -_{PV-RTCs)
POPULATION™ | NUMBER] _RATE* ‘NUMBER RATE" NUMBER RATES
1978 " 45,302] © 2,233 14.8 4,255 BZ; ~ 78/9 64
1977 14,428 | - 2,034 141]. 1,243 6) =. 73a 5.5
19768 42,401) - 2,585 20.8 1,574 |. 12.7 _ 1,044 8.2 -
1979. 10,458{ 2.558 2457 = 1,882 - 13.0 4,967 11.4 :
7980 11,061] 2,995 271] ~~ 1,393 12.8/ 4,602 14.5
1281 11,883.|- 3,865 32.7 1772) . 149} © 2,443 17.8 -
1982 ' 43,606] 6,000 44,2 2,231 16.4 . 3,778 27.8
1983 18,223} 9,435 46.3 3,160) © 1749/ 5,275 28.9
- 1984 24,390| 11,409, 46.8 . 3,998 | 16.4| - 7,42 | 20.4
1985 28,888) 16,344 56.5 5042 | 17.8 41,289 39.0
1986 . + 33,615] 23,849 70.9 5,790). 17.2] °° 18,059 53.7
1987 39,878 | 31,597 79.2 ' 6,390 16.0 25,207 63,2
“1988 50,054 | 42,424 a4ef a0 16.8]. 34,014 68.0
7989 "88,731; 54.016 -- 98,9 11,040 18.6 39,976, . 68.1
- 1990 69,164 54,379| Tae 14,070| | 20.3 40,309 58.3 |
1994 80,905 | 57,344 | | 70.9 | . 16,040 198) 41,334 514
1902. 87,940 | 52,874 ' 60.4] ° 17,939 20.4 ' 34,032 307 .
1993. “90,626 | 54,681 | 60.3) 19,150) 244] | 35,534 $9.2
‘1994 |: 03,528 | 62,480 66.8, 17,009 1821 > | 45,471]: 48.6
1905 102,181 | 69,864 68.4; - 17,454 17.1 52,430} 54.3
1998 109,459} 75,419| | - 68.6 17,435 . 15.9] 57,984 |. 52.9
1997 115,299 | 85,407 7A2 17,593 | 183]. ° a7,904/ °° 58.9
1998 © 122,961 | 87,645 743]. 17,9081 ~~ 444]. 70,260 57.1
1999 | . 129,709 | 87,728 67.6 17,064 13.2 |. 70,665. 545
2000 | 134,827 | 89,346 86.3: 16,016 | 41.9 73,330.)-. 5d,
_ 2004 136,032 | 88,806 64.9 14,531 10.6. 74,278) 54.2
2002 138,133 | 85,551 62.8 44,363 10.6 | - 74,188 | | - 52.3
2003S [- 134,693 | 78,088 59.3] . 15,703 11.9 62,355 47.3
- 2004. 128,501} 76,565 ~ 59.8 . 17,840 |. 13.9, 50,725 45.7
2005 f . 131,087 | 90,035 O17 19,755| = 18.4 61,180 ‘46.7
2006 133,118 | 83,872 67.5] . 20,777). 15.6|- - 69,095— 519."

Note; Componanta may not add to totals dus to Independent rounding.

plus the average dally felon parolag-st-iarga (PAL) population. Callfamia ralaasns to parota who ware under supervision In other stat
ok and absconded from supervision ware Included In lha PAL Population prior te 1888

“Beainning in 1884, the Total Feton Paroloos Retumed to Custody Without a New Term Includes parolaa who wera ratumed ta COC custody
panding a revocation hearing. . : . . :

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Data Anetysis Unil , _  Gepartmant of Corrections and Rehabilitation

Estimates and Statleticel Anatysis Section 2, , . . Slate of California
Offender Information Serdces Branch =| : . Apdl 2007
TABLE 2

MALE FELON PAROLEES RETURNED TC -CALIFORNIA PR SONS °
-NUMBER AND RATE* PER 103 AVERAGE DAILY POPULATION (ADP)*
. CALENDAR YEAR 1976 THROUGH 2008 .

MALE FELON. | MALE FELON PAROLEES ~

| AVERAGE DAILY MALEFELON | PAROLEES RETURNED | RETURNED TO CUSTODY
CALENDAR | MALE FELON | PAROLEES RETURNED| WITH ANEW TERM WITHOUT A NEW TERM™*
YEAR PAROLEEIPAL | __{PV-RETs) (PV-WNTa) of. (PY-RTCa)
POPULATION™ -| NUMBER RATE* | NUMBER RATE* -| NUMBER : _-RATE* _
1976 14,394| 2,188} - 15.2 1,222 8.5 967 | .. 67
1977) |. 13,632 | 41,982 14,3 12t2;° 0 Be] TO)
1978 | 14,750 |. 2,540] 21.4 1,538 | 13.1 972 BS:
1979 9,882) 2,472 25.0 1,325 13.4 ” 4,147. 14.6
1980 — 10,392 |. 2,907 27.9 4,354). 13.0. 1,847| > 14.0
1984 11,098] 3,725/ ~ 33.6 4,714 _ 15.4 2,011; 144
1982—— 42,684 | 5,730 45.2]. 2,144 16.9 3,580/ 283
1983 17,009 | 8,040 | 47.3| 3,022 17.8 "5,018 | 20.5
1984 22,731| 10,796/ 47.5] - 3014] 16:8 ” 6,982. 30.7
1965 | = 26,793] 15,414 $78) 4778) 9° 47.8] - 40,636] 38,7
1986 30,959 | 22,343/ 72.2 5,433 17.8 16,910 54,6
1907 36,589] 29,537 80.7 6042+. 16.5 23,495 | . 64.2
1988 45,736 | 39,583 86.5 7,919 17.3 31,664 89.2
1989 53,616] 47,309) . . 88.4, ~ 10,341 19.3 37,058 69.1
1980 62,8721 50,408 80.2| 13,194 21.0 37,214 ' Bfh2
"4997 78191} 53,017" 72.4 14,994 20.5{ 38,023 52.0
1992 79,465} 49,122) 61.8 16,862 21.2 32,260 40.6
1993 82,012 | 50,878 61.8] | 17,935 21.9 - 32,743 | - 39.9
1094. 84,864 | 57,457 | 67.7. 15,767 18.6| . 41,680) © 494
1905 . 92,836] 64,216 69,1. 16,217| 17.8 47,998 51.7 |
1996 99,403 | 40,816 69.2| 16057] 16.2 $2,750 . 534
1997° 104,198 | 78,040:|' 74.9 | = 16,484 15.5 . 01,859 50.4
1998 - 410,528) 79,724 | 724 15,831 14.3 63,893 |° =; 87.
1999 | 446,264] 70,734 83.6 15,472|  - 133] . 44,262] | 55.3
2000 120,493 | 81,342 |- 67.5 14,574/° 124} 66,739 55.4
2001. 124,079 | 84,389]; = 68,7 13,379 11.0 68,004 55.9
2002—«+S «. 121,200 | 78,535 . 64.8 13,240/ - 10.9 65,205 | 53.9
2003 117,412 | 74,770 B11] 14,409) = 12.3 | 57,370 |. 49.9
2004 114,630 | .70,472 61.5 18,309 14.2 54,163. 47.3 -
2005 116,837 | 74,133 63.4 18,178| 8915.8] - 58,015 47.9
2006 119,219 | 82,315 * 69.6 18,017| | 16.0 63,308 $3.6

“ Note: Componenis may not add lo tolals dus to independant rounding. -

“The Average Dafly Feton PamlewPAL Population (ADP) Includes tha average daily population of falon parokos sunamviead In Californls,
plua the average dally felon parcles-ettarge (PAL} population. Galifomla releases ta parle who were under eupervision In ofher states
ard, abscomded from supervislon were included in the PAL population prior to 1688. : . -

“*Baginning In 1986, the Total Falon Parnises Relumad io Custady Without New Tez inclutgs paroloes who were retumed to CDC custady
ponding a revocalion hearing. © . . ' ‘ a :

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Date Analyale Unit oe Dopartment of Comections amd Reiabiltaton

Estimates and Statistical Anetysle Section : . : State of Callfofnia
Offender Information Services Branch : . Apri 2007
‘TABLE 3

FEMALE FELON PAROLEES RETURNED TO CALIFORNIA PRISONS ~.
NUMBER AND RATE* PER 100 AVERAGE DAILY POPULATION (anry
_ CALENDAR YEAR 1978 THROUGH 2006

: oO FEMALE FELON _ | FEMALE FELON PAROLEES
AVERAGE DAILY| FEMALE FELON PAROLEES RETURNED | RETURNED TO CUSTODY
CALENDAR | FEMALE-FELON | PAROLEES RETURNED | WITH A NEW TERM WITHOUT A NEW TERM “*
YEAR PAROLEE/PAL {PV-RETs) , (PV-WNTs) | + (PY-RTGs)
POPULATION” | NUMBER | RATE" NUMBER RATE* |' NUMBER | RATE"
1976 908|". 44 4.8 33]. Be] - 41 1.2
4977 796 49 6.2]. at 39 18 ' 24
1978 .. O54 73) 44.5 36 B5.[ - 39 "6.0
1979 | - * B73 O6] 15.0 a7 | . 49 8.6
1980 a9. 4} 144 39 | 5a]. 55 8.2
1661 785 180 204)  ° se; . 74 102 13.0
1982 - 925 279 30.2 - gat. 2.7 189| = 20,4
1983 1.214| 305]. 32.5 438| > 114 287 ‘21.2
1984 | 1,659]. 613]. 26.9 | 174 10.5 | 439| = -.28.5
1985 2,005 807 42.8 264 12.8/ = = 6a3 30.2
1986 2,856] 1,506 56.7 387 "134 1,149 433
1087 3209) 2060; - -a2¢]  34B]. 10.6 | 4,712 52.1
1988 4,516] 2,841|/- 65.8 491} 14.4] 2,350 | 54.4
1989 5,415] 3,617 70.7 | 699 13.7 . 2,918 57.0
1800 6,292] 3,971, 63.1 a7e| 13.9 , 9,095 49.2
“4951 | 7,714 | 4,327 56.1 | 1,016 13.2 3,311| 420
1992 “" B47S | 3,749) - ‘44.2 /. 4077|- | 127 2,672 | 31.5
: 1993 8,616 | 4,003 46.5 4,215 14.1 2,788 | 32.4
1904 8,482 | 5,023 57.9 1,242 14.3 ‘3,781 | 43.5
1095 9286] 5668)- 6f.0/ 1237]. 13:3 4,431 an?
1996 | 10,256 | 6,603 644]. 4,378 134] 6,225] 509°
- 1997) | 11,101 | - 7,457 87.2 41,412 127 6,045) "545
1998 . 12,452] 7,921; * 63.6 : 1,554 125] 6,307 | 51.1
1999 13,444| 7,995] 50.5 1,592 | 44.4) - 6,403 47.6 -
2000 | 3. 14,328). 3,033) se4 1,442 | 10.1 6501/° 46.0
200t' 14,953} 7,423 49.8 4,152 7.7 6,271 41.9
2002 14,934| 7,016. 470/423 75 5,893 39.5
2003 14,281 | 6,270 44.0]. 1284; 894 4,985 44.9
2004 13,871 | 6,093. 439, 1,531 14.0 [> 4562/ 329
2005 [| — 14,2650/ 6,802 ]- 47.7 1,837 | 115{ - 5165| — 382
2008 - 414,809] 7,557 50.7 1,860 12.5 5,697 |. 38,2
Note: Components may mot add to lotals dua to Indépandenl rounding. 7 * a :
“These ra uld not ba consida CDC's lem ra

“The Average Dally Felon PeroleelPAl: Papulallon (AnP) Includes the average dally population of felon parclaes eupervised in Callfornk,
plus the average dally felon parotap-at-large {PAL) population. Callfornia releases to parce who were undar supervision In other states
and absconded from Supervision wera included In the PAL, population prior to 1888, .

nipegralng In 1084, the Total Felon Paroieas Returned to Custody Without a Naw u Term Includes parolegs who ware returned ta CDC
custody pending a revocation hearing. . :

of a , PVRET:2

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Data Analysis Unit . . Department of Corractions and Rehabilitation
Estimates and Statistical Analysis Section. . StataofCallfomia —

Offender Information Services Branch . oo April 2007

DEFINITIONS AND FORMULAS USED TO PRODUCE THE ANNUAL RATE
OF FELON PAROLEES RETURNED TO CALIFORNIA PRISONS

The annual rate of total felon parolees returned to prison is calculated by dividing the
umber of California felon parolees retumed to prison within the calendar year by —
the average -daily felon parole/parolee-atlarge (PAL) population. ‘The result is
multiplied by 100 to calculate a rate per 100 average daily population. Similar.
formulas are used to calculate return rates for specific types of returns. Offenders in

_ of returned from Interstate Parole Units (ISPU) or California Youth Authority parole
are notiricluded.. . a me

RateofTotal . |
Felon Paroiees ~~ - | & {PV-WNTs + PV-RTCs)X 100 -
‘Returned to Prison _ (ADP) -

PV-WNTs: Number of Paiole Violators Returned to Prison With'a New
oe Term, i.6., parolees who have received a court seritence for a
new crime and have been retumed to prison.

PY-RTCs: Number of Parole Violators Returned To Custody, ie, |
parolees who have violated the conditions of parole and- have
been returned to prison pending a revocation hearing or to
serve parole revocation time.

ADP: — Average. Daily Parole/PAL Population. is the calculated
. average parolee population per day for the year specified. —
This figure includes felon parolées supervised in California, .
plus the average daily felon parolee-atlarge (PAL) population,
California réleases to parola who were under supervision in
other states and absconded from:supervision were included in
_ the PAL ADP population prior to 1988.. ,

These rates should not be considered to be CDC's recidivism rates. For more
information on recidivism, please contact : -

_ Nikki Baumrind
CDC Research Branch
P.O. Box 242883, Rm 450-N
Sacramento, CA 94283-0001
. (916) 324-0659
E-Mail: Nikki.Baumrind@cder.ca.gov

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EXHIBIT F ©

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‘State of California me Youth and Adult Correctional Agency

Memorandum

Date: April bl, 2005

To =: AllParole and Community Services Division Staff

Subject! REORGANIZATION OF THE YOUTH AND ADULT CORRECTIONAL AGENCY
AND ITS AFFECT ON OUR CURRENT PAROLE ACCOUNTABILITY EFFORTS

As you are aware, in 2003 the Parole and Community Services Division, under the
direction of the Davis Administration, proposed several parole reform programs
.. designed to both provide services to parolees and to reduce recidivism. These _
Programs were continued and expanded, and new programs were proposed, at the .
beginning of our‘ new Administration, These programs have been referred to as
the “new parole model.” - Electronic In-Home. Detention (EID), Community

. Correctional Reentry Centers (“Halfway Back” Program) and the Substance Abuse
Treatment Control Units (SATCU) programs were clearly designed to provide
intermediate sanctions ig lieu of. parole revocation, and were touted as ways to
Save the state money ‘through reduction in the parolee return rate to prison.

Effective immediately, these programs will no longer be used.

I am aware that ‘many of you in the’ field. were encouraged to use intermediate -
sanctions in lieu of revocation, but due to. our early implementation problems,
those sanctions: were unavailable to you as planned. In addition, I have also
teceived information that these measures were Suggested as a way to save money — oe
or to reduce return rates, I want to make it very clear to all of you- public safety .
is our number one priority, Revocation of parolees will continue to be a tool that
' individual-agents and their. supervisors should use when public safety ‘is: at risk.
Decisions on whether or not a parolee should be revoked should never be based on.
_ Such things as cost factors or convenience, oo,

_ There are several reasons for the change at this time, none of which are more
important than our ongoing commitment to public safety, As you know, the Youth
and Adult Correctional Agency is currently in:the process Of reorganizing to the
new Department of Corrections and Rehabilitation, In addition, previous to this
proposed reorganization, the Agency. adopted its first-ever Strategic plan. Our

_ Stated’ goal in our strategic plan was to “...improve ~ public ‘safety through
evidence-based crime prevention and recidivism reduction strategies.” Our plan
spoke of the need to “...use evidence-based research to reduce criminality and.
victimization,” , ,

Case 2:90-cv-00520-KJM-SCR Document 2242-2- Filed 05/24/07 Page 11 of83 |

Page Two

To implement these. goals, our reorganization will . include the Office of Policy,
Planning and Research. The research component of our new organization will be
responsible for gathering evidence-based best practices from, throughout the nation
', t& determine how we can increase public safety in our communities by effectively .
adapting measures that have proven successful supervision tools.

As I have said publicly, we will at all times review our current practices, and the
practices of others in our field throughout the nation, to replicate and use programs _
and practices that work, and‘to eliminate those practices or programs that do not

. work. At this time, we have no evidence that these. three programs, as originally
‘designed and. implemented, increase. public safety. In addition, these programs
have been beset by implementation difficulties due to contract-award disputes and .
lack of available beds for imiplementation, - .

Tn the near future, as our reorganization takes form, and ‘working together with our
' stakeholders to include victims’ advocates, we will be involved in a comprehensive
effort to identify those parole accountability measures that have either been proven:
or show promise for increasing public safety. However; until that time;
intermediate sanctions in lieu of patole revocation, will not be a measure used by .
this Agency. I urge all of you to continue to “focus on the fact that we are
entrusted with keeping our cities and neighborhoods a safer place to live and that
casework decisions that are made on a daily basis can have a profound effect on
people’s lives. .

Thank you for all of your efforts and hard work. AU of you are to be commended
for the exceptional job you ‘have done, and continue to do, in n protecting ‘the safety
of Californians,

~ RODERICK Q. HICKMAN
Secretary .

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oS California -
‘Department of
Corrections and
_ Rehabilitation: |

The Intermediate Sanction Deane =:
Se Lacked Performance Benchmarks and Were -
+ Plagued With Implementation Problems -

a ‘November 2005 ec oy
2005-117

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eT > STEVEN. HENDRICKSON © fa
, STATE AUDITOR co Te EMR ae _. CHIEF DEPUTY STATE AUDITOR - a oe

- Th The Governor, of California’
. ‘President p pro Tempore of.the Senate _

~. Speaker of the Assembly
_.” State Capitol
Sacramento, California 95814

Dear Governor and Legislative Lend:

OS As requested by the Joint Legisiative Atdit Committee, the Bureau of; State Audits: presents it its audit report sO
concerning the California. Depariment of Corrections and Rehabilitation’ s (department) intermediate

ee sanction programs for parole violators, Which the department secretary, terminated on April My 72005,

moE BLAINE M. nOWLE. ds
oe State Auditor. fe

oo . This report concludes that the department did. not establish performance berichmarks or. analyze avai silable te

- data for the intermediate sanction programs. As aresult, the department was unable to detetmine whether

- “the benefits it intended to ‘achieve, including. saving money, helping parolees. integrate into society, and: _-

reducing the Board of Pardle Hearings’ parole revocation heating caseload, outweighed the risk to public

safety the intermediate sanction programs posed. Inaddition, the department unrealistically’ assumedthat

. the programs would be filied to capacity on January 1, 2004, thé planned itnplermentation date, and would —
_ continue to operate at full capacity. The department also experienced unanticipated problemis that delayed |
the programs’ implementation. As a result, we estimate that the total savings related to these programs,

was only $14.5 million—an average $1.2 million per month’ over @ ‘12-moiith period—far short: of the " mol,

- ‘average $8.4 million per month the department. would have had to save to achieve its Planned savings ,
of $50. 2 million for fiscal year 2003-04 and $100. 5 > million for fiscal i year 2004-05. Mas

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°° $55 Capitol al, tite 300 Sa

“BUREAU OF STATE. AUDITS :

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Chapter 1

Oo The Department Had No Basis for Determining
" - Whether the Benefits of Using intermediate = wt,
~ Sanctions Outweighed the Risk: to Public Safety WS

‘Recommendations. SO, ~ 36.

Chapter 20° a
_. Contracting Problems and Unforeseen Issues
Delayed the Implementation of the Intermediate _.
- Sanction Programs: a (OM

Appendix A A

Other States { Use Alternatives'to Prison That Are
__ Similar to California’s, but Comparisons of .
: Recidivism Rates Can, Have Little Meaning : - . AP

. Appendix Bo

Status of Parole Violators Placed i in intermediate
___~ Sanction Programs and Their Retums to Custody
_ Since Entering 7 Those Programs: Fe BEB

» ot

Rerponse to. the Audit

3 The California, Department. of Comections a
: and Rehabilitation. feo pt 89

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. Audi Highighes wes te

uo Our review oft the Caltfornia

Department of Corrections and
.. Rehabilitation’s (department) -

intermediate sanction progrants
_. for parole: violators reveated ”
- the following:

MI Although the department
- had data regarding

.. parole violators in.the ©

programs, tt did aot
analyze the data or ©
establish benchmarks.

that it could measure the
" programs’ ‘results against,

- The departinent’s savings

were substantially

- fess than anticipated

Because hts savings.
_ estinates were based on - ©
unrealistic expectations

and the programs were

- inyplemented fate,

"To mintenize the fish
o>: golpublic safety, fess’ *
_ dangerous parole.

| ‘violators were placad.in

the Intermediate sanction.

. ~[progeams; however, a

..”” Setnall percentage oF, parole”
“violators were convicted -
‘of. new crimes during the |
thine they: otherwise would. oat °

have. been in prison. me

, ” : RESULTS IN BRIEF”

SUMMARY a x — ee

telons on  paiole fr ftom California's adult cortectional -
facilities—which: on average numbered 128,000-each' ‘day: ”
- in 2004—are under the supervision: of the Division of. Adult’

Parole Operations’ (parole division): within the Department of a.

_- Carrectionis and: Rehabilitation (department). 1 Most felons’ serve me
~'a'specific number of years in prison, depending on the nature - a
- of their crime. Most.are released to pardle supervision for three =
"years, and they must abide by-certaln conditions during this
time. A parolee who has violated the law or failed to comply

- with a parole 'coridition may be-subject to reincarceratlon, —

* depending « on the seriousness of the parole vi violation and the

judgment oft the parole agent. oo

~ According to the former deputy director of the 16 parole division, t the -

programs. that eventually were established under'thie department's

New Parole Model: ‘were intended | primarily to: fill ‘percetved Bapss
~, in'the. department's parole process. The: ‘department. hoped to help ee
“parolees reintegrate Into- communities by.implementing prerelease
‘programs aimed at matching future parolees. tothe: “programs: and fo
~ services they. needed and by. expanding post-releasé programs Me
aimed at improving hewly teleased parolees’ access to those, —
: programs and services, thereby. reducitig.the recidivism. Tate. The
, department also planned to. iniplement three in termediate sanction
* programs that could be used as ari alternative to’ prison for low-risk:
parolees who commit minor crlmes or technical’ violations of theli -
_’ parole conditions. For two of the intermediate sanction programs,"

_. the department hoped. to help parale. violators’ improve’ their
" behavior and their Ilves and, In the long tern, reduce thetr: chajices 2
of returning to criminal activity. The 'depattment: also’ anticipated.”

* that, by. using: the three intermediate sanction ptograms, ‘it could:
_ reduce prison costs by. reducing.tk the nianaber, of f parole violators -
returned ta ° prison. Tet : 2

T "This hunetion jas forme th po naa icin Sies iin: Sa
~ within-tire Deportenent of Corrections, On july T,. 2005, the governor reorganized aH ©
*. + departments under the Youth-and Adult Correctional ‘Agency, inckiding tie Department.”
.. ” ‘Of Corrections, intothe Caldomla Department of Corrections-and Rehabilitation: For ~ :-
-:, conventence, we use the tenn “department” to refer to elther the former Department of . 7
~~. ., -¢-Comrections.or: the coment Department ‘of Corrections and Rehabilitation. - Smikarly, wes, ab

“parole division” to rele to either, the current or foimer parole division. >

-. alifgrala'State' Auditor Report 2005-1:

Uap a oe nbs

nthe intermediate sais

“Implementation was. wt
-" delayed due to state hig
_ 2 and contract freezes, a:
ye department leadership ce
Sag Seen contracting problems,

eh Me Tas

in . Asp part of the fiscal year 1 2003-04, ‘budget act, the 1e Legislatare
ey approved the department's use of the Substance Abuse Treatment.
 ..: Control Units (SATCU), Halfway’ Back, and Electronic In-Home «.
oo Detention’ (BIDY’ intermediate. sanction’ programs: The. parole.
“ a division anticipated that the programs would result in savings of
 ~ $50.2-million In fiscal year 2003-04 and $100.5 million in fiscal \.
“: - year 2004-05. These savings were to: come about through, the’:

oe Telated t to these participants was ‘only $14, 5. million—an average.”
‘:§1.2 million per month over a.12-month perlod—far short of -
Ane average. $8.4: million per. “month It would have had:to save

“vy lower cost of maintalning a pardlee:in one of these programs'as. oo . - os
. ‘opposed. to revoking parole and returning the parolee to prison.
. ; For fiscal year:2003-04, ‘the: department spent $4,9 billion to’. -
a “nearcerate | Inmates, and in 2003 there were more than 78,000:
~-“ " parolee returns.to prison: T6:reduce the number of parole
-.. 7° -vholators 1 returned to prison, the parole: division would place: .
__», eligible parolees who violated the technical conditions of their .
_ parole or committed minor crimes in intermediate. sanction oO .
4 ‘Programs vather than returiiing them to prison. ee

a In ‘Apdil 2005, the depattment secretary (formetiy the secretary ©
"_.of the Youth and Adult Correctional Agency) terminated the.
.. use of the Intermediate sanction: piograms as alternatives to
"prison becatse.he saw no-evidence, that the programs improved
: public safety. Although the department had:data regarding *.
~ + “the parole violators in the’ ‘programs that ‘it could have used to
: a ‘evaluate whether the benefits: it wanted to achieve were worth.”
the additional risk to’ public saféty, it did not analyze the data ve
: OF. establish benchmarks such as acceptable. failure’ Tates to ~
. * + measure the programs’ results. The ‘department subsequently |
oe has redesigned. the. SATCU. and: EID programs and expects. to S oe
implement the new. versions in ‘November 2005. A

oe The department d did not’ achieve its savirigs goals b because it it.
"unrealistically assumed that the programs.would be filled to”
2+. Capacity on January 1, 2004, the planned implementation .
|. +-.date, and would continue to operate at full ‘capacity, It also,

: “experlenced, unanticipated problems that délayed the programs’
OO ‘implementation: The department's fiscal year 2003-04 savings --
_ *, estimates assumed that 12,000- parole violators would be’ placed = wo

2c 4a the programs, but ; as of December 31, 2004; six months: after oa :

the énd’of the fiscal yeat, only’ 5,742 had entered:the SATCU |

tid: Halfway. Back programs. We estimate that the’ total: ‘savings

to achieve its planned. savings. of $50.2 million. for fiscal years.

oe 2003-04 and $100.5 maillion for fiscal year: 2004-05...

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“Besides feducea recidivism, the 2¢ department also hoped. to oie.

a reducé the workload of revocation hearings before the. Board of os

. _: Parole Heaitngs (board),? As-the result of a lawsuit settlement INO ee
“| .November 2003, ' the’ board is. required to conduct final parole"? 085.
“5° revocation hearlngs t within 35 days after the first day aparolee is’. =)
a ‘detained for.cevocation. proceedings. Thus, reducing the board’s ~~.
Sees hearing caseload would Inereasé the likelihood that it would .
"meet the 35- day deadline: Evaluating the board’s compliance.

“wlth this settlemenit Is beyond the scope of this audit. However, fae Ss

~ -as of December 31, 2004, we observed that: the board's heating
_ caseload would have been reduced. by approximately 5, 700—.

the number of parole. violators who had been placed in the -

intermediate sanction programs a at least once by that time.

ne Although the tradeott may be difficult, achieving the desired benefits
‘of using intermediate sanctions in lieu of returning eligible parole
violators to prison requires a.willingness to accept the additional ©
risks associated with keeping individuals whe are proven to be.
uncooperative in the community. The parole division minimized.
~ the risk to public safety by placing less dangetous parole violators

in the programs, Additionally, | the intermediate sanction Pptograms  .

_. .. Were more restrictive than other. parolee programs, providing ~ ue -
- | “supervision of of strict control over the parole violators placed'(n ’ -
them. However, depending on the program, this supervision: or >

"strict control occurred between 30 days and an average of 45 days,
' which is significantly Jess than the average | 153 days'a parolee. would

|”. have Stayed in prison for parole violations. Because the parolees.
-* partlelpating in these programs. were not Incarcerated,. they. were not

prevented from committing crimes against the public for as. longa a

pertod as they wi were before the programs existed.

Based o on our ‘data’ analysis, of the. 2, 567 parole violators 1s placed
_ In the SATCU, program and 3, 175 patole. violators placed inthe —_— -
..- Halfway Back program by December 31, 2004, 128 (5 percent)
and” 114 4 percent), respectively, were returned to prison for.

7 new convictions during. the time they otherwise would have

been in prison. .Notwl thstanding. the: significance of those crimes .

- to their victlms,. thie. ‘peicentage’ ‘of pardlees participating in the: i ,

_two programs who were convicted of new’crimes is small. An.

a additional: 1,732 parole,; violators placed i in ‘the Halfway Back and. S o : . ”

“SATCU. programs were retuined to prison for committing parole. oe
oy violations during that time. ‘However; the parole: division hddno.-
oe benchmarks to determine whether these: results were acceptable. Ages

. __ Parole Hearings, -

. “fAsa resutt af the: reorganization a on aly 1; 2005; of" the departmerits under the Youth.

"and Adult Correctional Agency, the Board of. Prison Terms y was renamed i the. Board, of a . ae

-Callfornia State Tudltor Report 2005. M1.

Sop The department planned i to iinplement the e'lntermediate wie
- cy Sanictton. programs oni January 1, 2004,-but contracting problenis,
a labor negotiations, and- unforeseen ‘obstacles, delayed thelr. -.:.
oe Implementation. The SATCU ‘Program Implementation, delayed ©
“> * “until May'2004, depended on contracts with county jails to”,

3 -- provide. the 30-day in-custody component of. the program. Yet- the. oe
" - department folund that many. county jails'were reluctant to contract Bt
 Gwith the State at. the daily relmbursement tate offered or that"
°*: they Jacked space, The EID ‘program. implementation: was delayed. 0.
» because of contracting problems, Inclading numerous protests of the co
' _” awarded contracts. Further, after the EID contract was finalized and |:
* the program. dniplementted In late. 2004, parole agents In the field .
~ found’ numerous equipment problems, and as.a result.the program
o> ever ‘fully materialized béfore. being terminated in April.2005. In”
- coritrast, the Halfway. Back program was Implemented telatively ~
ce smoothly. only one month after-the January 1, 2004, deadline, but Os
_ . Itdid not: reach, its occupancy goals before belng terminated," ee

RECOMMENDATIONS | a
When planning future Intermediate sanction programs, the parole
‘division’ should decideon appropriate ‘benchmarks for monitoring ~
- performance, identify. the data it will need to measure performance .
against those benchmarks, ‘and ensure that reliable data collection: *
. . mechantsms are in place before a program is’ ‘plemented. After.
: implementing a new intermediate sanction program, the. parole
|. division should analyze. the data it has collected and, if relevant,
“use ‘the data in its existing databases to‘monitor and evaluate the
program: s effectiveness on an ongoing basis. *. |

oe The parole: division should ensuite that the savings estimates

__,, developed during program planning aré based on.reasonable. |.
.assuinptions. If.thosé assumptions change, it should update the OS
savings estimates Promptly. aciue

wo The parole. division should consider analyzing th the effect; programs 5 Oat
.. Have'had on ‘parolee behavior aid‘should ‘use the. knowledge It -
: > gains: from the: ‘analyses, to make: future Intermediate: sanctlon:
' "7; programs more effective, ‘The analysis should Include the benifits
of f adding. features to ) make these Programs moje effective.”

AGENCY. COMMENTS

. The department agrees with our r recommendations. . “ OR a

>" ‘ease 2°90-cv-00520°Kam-

2-2." Filed'05/24/07. Page 21-0f' 83

o nemonucTion os

"BACKGROUND -

= elons feleased o on parole from California’ s adult ”
correctional facilities are Supervised by the Division of.
Adult Parole Operations (parole division) within. the -

- fe California Department of Corrections-and Rehabilitation
. (departmeni). The department’ s records: indicate. that-It-
"_ supervised.an average of 128,000 parolees each day in 2004. a

_ At the end of the first. quarter ‘of-2005, the parole division. had"
oo 190 parole units within the State’s four parole regtons. Those *

reglons’ are shown in Figure. 1 on the following page: For the -
same time period, the parole division’ had 3,160 staff members
and reported 2,100 authorized parole agent Positions aS of

June 30, 2005.

The department also reported, for the first quarter of 2008, that.

_. Its average annual cost per parolee was $3, 364; in contrast, the.
a - average’ 2 annual cost of incaicerating ‘an inmate. was $30, 929.

For fiscal year 2003-04, the total cost to incarcerate adult.

- felons was: $4. 9. billion, according: to the ‘department’ 5 Office, of -

‘Budget Management.’ ‘Based on published: department reports, -

in 2003 there were more than 78,000 parolee returns to prison.

- Of these, 20. percent were. returned with anew sentence asthe ~

, tesult 0 of crimes committed while on parole, with. the. remaining.
80 percent returned for violating’ their parole conditions, as
Indicated ttt Figure 2on n page 7.

3 Parole agents also supervisa chvll addlets, vifio are persons convicted ofa drug: related .
: ‘crime. but diverted from prison to a drug treatment program. However, our report deals -

nly with parolees. meaning, those, who, have been relpased! from mprison bo supervision. ;,

California State Auditor Réport "2005-111 Pa

Region i—covers the entire Central valey.
_ team: Bakersilatd.t

ee ” a Region it—covers the:San Francisco day A Area wy
yO, _and the coastal’ Squnites from, Verura Wo the -
epee ag ‘Oregon border

i if Region: v—covers t the San Diego area nand
co southern counties

Ct la” - FIGURE 2 we ae
oe ° ee oo we nuts ms ‘Returns t to 3 Cody i. 2003.

. . Source: ‘Data Analysis Unit, Callfomia: Department of Corrections and Rehabilitation. .

+ Note: These numbers fapresant a count of the number af returns to, prison by parle ”
. -widtators. and Is a measure of events, A parole v violator who retums to prison price is
. counted | aS Iwo returns to prison. , :

PAROLE.

a California isa determinate sen tencing state; meaning | that most. ee
7 felons serve a ‘specific: snumber of years in- prison, dependingon - -:

'. the nature of their. crime, after which they are released... Most. aly
.  Feleased Inmates are placed on parole supervision for three years; :

- however, the parole perlod ‘for these. parolees may. ‘be. extended - Oo,
. . Up to one year to make up 1 for pacole- time that was: ‘lost duetoa -

parolee's 5. parole status. being Suspended or revoked. mo

no Sy parole agent. and. to. abide. by: the: conditlons’ ‘of. their parole. -

: ” parolee. access Programs z and services such as drug 4 treatment - o.
oe and. employment programs, and. takes apptopriate. action if the © -:
“ “parolee | presents a danger to the public or to hiensell Or hetbelt,

oe Parole agents rely’ on their raining. and experlence when sssing a
2 yo. 7 "2 the seevices-a parolee needs ‘and the:level-of monitoring and: ~ |

Ra “supervision: required.’ Sdch factors as ‘severity of current violation, on

Va . | commitment offense, Jength and severity of ctiminal history,” .

felons reléased from prison. are required: to. report ts io an mi asigned Ve te

“~The parole agent ‘monitors the parolee's activities, helps the, : a fe - a

a o prior parole violation history, at and id community & resources available . oe

 “-California’State Aud

- - are: considered. when sn thaking recommendations regarding suitable vo: .
tae placement | in: vartous progtams. and: approptiate sanctions f for’ a-
7 ‘Parolee ‘who. wiolates 2s parole. Tey atts oy . .

oF Parole Violations Be eu
A parolée who has violated the law, or falied to ‘comply with a a.
vos “condition. of parole Is: ‘deemed to have violated parole and may -
“. be subject to reincarceration. Although general conditions of.
a parole: exist that ate imposed | on all parolees,. such as reporting: ve
".. .t0.a parole agent, additional conditions may be imposed.asa
. * special condition of parole if they are related to the crime for
'. which the parolée. was convicted or if reasonably related. to So
Potential, future criminal behavior. Ee taht

‘Although s some parolees are ¢ convicted of: new y crimes and:
. returned to prison with a new sentence imposed by a court,
. many more parolees commit technical violations of their °. : :
parole or'minor yiolattons of the law. These technilcal types of
- violations can include failing to report to a parole agent, using -
alcohol, participating in or assoclating with 4 gang, Or possessing
a ammunition for a firearm. The parole: ‘agent’ S response to:
Pee technical violations may. Include ‘continuing the parolee’ on™
“parole, with additlonal conditions imposed. Fot example, a

. - Anonymous meetings “if found to ‘have: used alcohol In: violation ©. -
.. ‘of parole conditions. Depending On.thé circumstances, another. *:
resporise | to such a. violation ‘might be to place the parole -

- violator ‘Ina residential. substance. abuse treatment program. —
TE progressivély restrictive: parole. conditions are not successful | we

_ dn deterring repeated parole violations, the parole agent. may.

_, , recommend. that the violator’s parole be fevoked and the parole a
- swislator-b be returned to prison. “

Le Parole: Revocation Process’: OO Sa
The -parole tevocation. ‘proves begins when a parole agent oF
local: aw. enforcement agency’ ‘detains a parolee, forcertaln:.* :.
suspected violations of the law or violations, of the conditions
of his or her parole. IE the: parole agenit, the. agent’ $ supervisor,
andthe district administrator. believe that. parolé'should be: *:
: revokéd | ag a. fesult. of the. parole, violation, . the case. is referred to

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“ parole ‘violator: might be instructed to: begin: attending: Alcoholics cae

f je the Board of Parole le Hearings. (board) for review. State law y grants oes o - 3 ey

“> -Casé 2'90-cv-00520-KIM:SCR™ 1

ecurt eit 2242.9 “Filéd-05 407. “Page 250

: “the board full: ‘power to suspiend or tevoke any. atole and to®.

“order a:parolee returned to prison; Based on its review, the: ee AP
_décides whether. there: is sufficient evidence to revoke parole for. >

- technical violations ‘of parole and, if $0, an appropriate sentence,

‘The board has various. options,. ranging ‘from. dismissing charges Woes

.. -anid discharging the parolee to réyoking parole and returning. °

"the parole: violator to custody for-up to'12 months, in fiscal. year bee Ba

: 2002-03,. the most. current year. repoited,, the board conducted. _
os more than 43, 000 parole revocation ‘hearings. . Se

- “fot the first quatter of 2005; the department reported that

‘approximately’ 80 percent < of the parole violators returned: to”

- “prison had been sént back as-a result of a parole revocation:
'.” heating, many of which weré- for malnor or technical parole .

“ylolations; The remainder were convicted of new crimes and
.- sent back to prison to serve new terms. Both groups.are included woe

in the department's calculation of the State’s recidivism rate—

the rate at which inmates released froni prison are returned. to.

- prison, which: it calculates.at.one-; two-, and three-year intervals. .
Additional information about California’s and other states’

. recidivism rates Js presented in t Appendix A..

“nine NEW. PAROLE MODEL.

_- As part of the fiscal year 2003-04 budget act, tthe Legislatuie’ a
oe approved several | programs’ intended to save the Statemoney -
by reducing | ‘the numiber. of parole revocations, The goal of

these programs, referred to by the: department as the New

Parole:Model, was to maintain public safety by helping parolees

“successfully reintegrate into the community and to help parole:

- ~ Wlolators:change thelr behavior. ‘According to the former deputy. a

‘director of the parole division, the programs that eventually ..

~ were established under the department's New Parole Model: were.

intended pritnarily to fill pecceived gaps in the. department's *

~~”, sparole process.-The department hoped to help parolees.

of relntegrate, into communities and to reduce the récidivisin |
“rate by implementing. prerelease programs. aimed at, ‘matching CO
. fete parolees | to.the: Programs: and.services they needed. and. by
ea ‘expanding postrelease programs, aimed at tunproving parol
a Q , acces$ to those’ ‘Programs and Services. a

oo ‘The department also. impleiiented three intermediate sanction
~-ptograims that offered an alternative to prison, for low-risk co
‘ parolees who commit minor crimes or,technilcal violations wae we
- _. ‘of thelr parole conditions: The department. anticipated that ©
cee by using # the’ three-Interrnediate sanction programs, it could’ :.

~ California State Auditor Report. 2ST 7 oe

- . “Prerelease piarining. Begun’ bate

reduce prisont ‘costs: sand costs to the State overall ‘by. reduicing t the: eo Lgal S
_ umber ‘Of parole violators returned to’ prison. Therefore, during Oe eee
- the-fiscal year ; 2003~04: ‘state budget ¢ process It proposed: using t the Wek Bo

« lntermediate sanction. Programs 2 asa a way te to save. e-money, Dene

‘,

_ Components of the: New Parole Model included the ilontig

i thie: fatéin was réleased oS
ftom prison,’ prerelease. planning, included: a comprehensive, ” : a

. “automated 1 risk and, needs assessment that: matched.
-. parolees to ‘programs, allowing parole officers to-have a «

“ better’ understanding of the types and levels, of services and.

: “supervision appropriate for each parolee,”

‘@ Expansioit of parolee reentry: services, Tn: pattiership. with local

_ law enforcement and social services agencies, police and*
cofrection teams served as a liaison between field parole staff,

- ” local service agencies, and contractors that provide substance
. .abuse treatment, transitional living, employment services,

CO newly, released: I parolees.

 sabsistence-resources (clothing, meals, and transportation), —
educational and vocational training, and other services to

. «Intermediate sanctions. htermediate satictlons— the»

. .Substance Abiise Treatment Controt Units: (SATCU); Halfway
Back, and Electronic In-Home Detention (EID) —were .

.- Festrictive programs for parolees. who ‘vtolated the technical...
oo conditions of their: parole or committed minor violations of
_ the law. Parole viglators placed in the SATCU and Halfway’

“Intermediate Sanctions

Table t summarizes these programs ani

. “Back programs prevented the need for a parole revocation’ we
hearing, In.addition, the board had to. approve placement in.
_ programs:such as'thé SATCU and Halfway, Back because they ..

te were r residential. The department’ orlgthally’ Planned ¢ to > have: oy
“the programs } in place: on: January 1 1; 2004. | -

The piimnary. Subjects of our: audit: were ‘the: three: intermnédiate
“sanction progtamis that the department implemented as: part
of the New Parole Model—SATCU; Halfway. Back, and-EDD. . Sel gt oie
e eligibility criteria BO

or Report 2005-111,

* Case:2'90-

-TwBLE

. Overview of the Intermediate Sanctign’ Programs

‘> EID: - “> Technical parole viplator* who was not convicted’ :. Parate violators were fitted with an electronic
>: 7) 6 required“te register as a sex offender nar 3 _ Monitor, worn on the ankle, that alerted a):
/* “had committed certain violations.that must.” ‘conitractor monitoring § service whien the parolee
- be-veportedt tothe Board of Parole Hearings.:: Le : wearing | the device was not within a defined ..
_” Must have had an operating. telephone fine and’ - » “distance from‘home. Somie were allowed ta nd
_ been vellling to disable. “call waiting” ar “call *” --leave home at set tines for worl. curtew period”
forwarding” telaphone features of have the, | was 45 days and. ‘could be renawed. Others’
abillty to pay forthe cost of Installing ; a desiicated uld be detaiied-24 hours a May. until: thelr * -
“telephone line Ito tha residence. revocatlon Rearing.

‘None -

* SATCU inlay a techrileal parale violator iho k had: net. 7) 30-day lockdown In ail setting for drug’. Substance
_ ,. been convicted of a serous of violent felony => streatrment education. After release from “abuse education
_- and whose pfimary problem Isdrug or afeohol . . = fockdown, mandatory 90-day aftereara program program
~'dspendency, Those who were required | to register. provided in the community, which could be Ina,
a8 4.s0x offender, had committed violent or serious ., oresidential program or on an m ourpadent basis.
felonies, or had-cormitted certaln violations that -
- must be reported to ihe Board of Parola Hearings: '
“were exclidedt.'In August 2004, ellgibllitywas
- ‘expanded.te include those convicted of setious or
violent felonies who curently committed technical,
. ‘ponserious/nanviolent parole violations.

co ce Sowes, Division of Adult Paraie 5 Operations-C California Department of Corrections and itenabitation. ee
My ‘ . * Tachnical parote vielatar—a parolee who has committed. a minor violation of law of has. violated : a technical condition of ot pat

tT Felons who have not besn convicted under Penal | Cade, sections, 1 192. 7c) ‘ana 1 192, 3 ® (elas andor Penal Cede,
* Sector 667,. 5(0) (vialent) ior. such crimes as ‘murder, carjacking, OF. Kidnapping. ©

3 So Bate i tnfianced Suinstance Abuse Teatient Control Unit, discisbed an: page 1 2

an in 1 addition ti to the se eiigibttty c criterla ‘shown for the EID progratn,- :
— parole violators with certain designations within the depa cement’s os
. correctional: case management or enhanced outpatient programs | os,
me were: ‘excluded. from participating. in this f program unless approved oe

al o specific Parole personttet The: re parole d division ‘nitally | limited v

“Case 2:80-cv-00520-KIM-SER *-Docun

ao “ "pigure 3 3 piovides 2 an. “overview of thie ni range. ‘of ‘options a 1 parole
os, agent might use, when determining. the course of action to take.
in response toa technical parole violation: “

a : * orkidnapplng, :

oh, participation | in the ‘SATCU and: ct Halfway Back programs to parole ca
"+ ytolators whose convictions were noniserious and nonviolent4, =

but expanded the Bligtbillty’ criterla in August 2004. ‘In addltion;- oe

-° + . the programs were openéd up to allow parole agents to place. -
“~ “parale'violators itt-the programs more than once, based upon
..° case factors and public safety’ considerations, ‘The expanded

. eligibility criteria f for the i Halfway 8 Back: program w were “revised in"
_-Noverber 2004, . ton . os

Les Although the Enhanced substance ‘Abuse Treatment Control. a
. Unit (ESATCU) program: ‘was similar to the SATCU- program, i it ps
" : was not part of the New Parole Model and was not available Oo
"statewide. Therefore, the department did not‘include the -

‘program in its cost savings estimate for the New Parole: Model.
The: department established the ESATCU program ‘to make use of ©

‘an existing facility that would be partly occupied by inmates in ,
a similar substance abuse Program. Lk

A Broader Range of Options: a a
‘The addition of Intermediate sanctions gave parole agents a

a btodder. range of. options: for tesponding: to technical parole
violations without having: to tevoke parole: and return violators *
to prison. In reviewing the case factors that could determine -

whether a parole violator shouldbe. placed in an intermediate

° sartction program, the parole agent.was to consider, in addition.
- -toother factors, the programs and services used by the parolee in
‘the past. Viewed as a continuum, the varlous paroleé programs |

and services ranged | from those offered in the least restrictive . |
environment, “such as community Narcotics ‘Anonymous or.
‘Alcoholics Anonymous meetings, to those offered In the most .

«restrictive environment, such as a SATCU jail. According to-
_ _ the director of the:parole division, the parole agent might | first s
refer the parole violator. to: the. programs ‘at the Jéss restrictive:
4 end of the continuum:and progress to” recommending moreé-

restrictive programs if the parolee ' ‘continued to violate his‘or her .

on parole or did-not appear 40. function well Inthe less: restrictive-‘ es a
1°. environment: However, based on the seriousness:of the parole. Dads os
~ <4 Zylolator’s conduct, the’ parole agent, Instead might choose tos

“ae begin the parole: revocation n process. eT

oF Felons who have not beén convicted under Penal Code, sectlons. 1192, 704 and 1192.8 -

» (serious) and/or Penal Code; Section 667. 9 {olen for, such crimes as murder,  caracling a

Cantino Bale RTE i ke

FIGURE 3. Ph EY
~ continu of. F Program Options for Parole Violators

ip oe ed . +. Source: Division-o of Adult Pol Oars, alia Obparmet of Coretans. byl te P
BS a 2 and Rehabilitatlon. “te he

“ELIMINATION 4 AND’ ‘SUBSEQUENT IMPLEMENTATION. OF °
" REDESIGNED INTERMEDIATE. SANCTION PROGRAMS.

tie intermediate sanctlon programs: were in effect until: es
0) “Apel, 2005, when the ‘department. secretary. (formerly th the | pe
. ~~ secretary | of the Youth and-Adult Correctional: “Agency) Issued -

an emoraridum. ‘stating that the intermediate sanction programs,
would. no longer be used San. alternative. to parole: ‘Tevocation.
Citing: public safety: as. ‘the number‘ one. -ptlority, the sécretary’ ee
“Stated: ‘that’ there: was’ no. 6 evidence that these sanctions Improved wh

“public safety: oS

o After the ‘cancellation of the Intermediate sanctions, parolees.
already i in the: SATCU: ‘prograrn were allowed -to ‘continue in the |
- program, ‘including. aftercare.’ In n adeitiony the. Patolé division.

- California State Auditor Report 2005:11 1.

oe st issued new guidelines. for how the: ié Halfway Back facilities, now :
es “talled Parole Service Cen tets;: ‘would be used. These: centers, are’ |

"'"2,. cain stay at them for up'to’one year, Parole violators who were . |
“1... ithe Halfway Back program. when: the: program. was ‘terminated
“would, according to the, guldelines ‘continue ¢ to receive services
mo until ‘their. scheduled release, date... ye wt oe Ts

. “as an alternative, to prison met with opposition:: ‘Plaintiffsin ~~
we a previously’ resolved lawsult. against the’ State—Valdivia ve
nm Schwarzenegger—took the State back to court, alleging that
": it‘had violated-the previous, settlement ‘agreement, wherein .
: ” intérmedlate sanctions would be used fn. place of pa role’
ca! revocation and imprisonment when It was determined: “that |
oO. such ‘measures will best benefit both the ‘community aiid the’.
Sooty parolee.” Although the State ‘contended that the intermediate’
“<> sanction, programs were not specifically included in the —-
_ settlement agreement, the court ruled in June 2005 that the
" State violated the agreement when it eliminated the SATCU
and BID. programs, the two intermediate: sanctlons specifically

S fiow open to eligible: parolees. on a voluntary, basis, and ‘parolees © “ata

However, the termination of the Intercnediate sanction a progranis Bae

"famed In the agreement; The-court also found that the Halfway os ee

oy ° Back’ program was not specifically. named in ‘the: settlement |

: . was Tot a: violation of the séttlement agreement. ‘According t to
__ ; the ‘director of the parole division, since then the division has
oy redesigned the SATCU program, now called the In Custody

mo _agreement;, therefore. its: termination. as an. Intermediate sanction oe

.. .Drug-Treatment Program,.and. changed the EID program from, oe

“a program used in lieu of parole revocation, ‘to-one that will
. be used in-conjunction with other ‘services. He stated that the
depaitment has met with the plaintiffs’ counsel, who approved .
-. the plan, and he. indicated that the department: hopesto
cf implement these wo © progtams ‘by the’ end of ENovenber 2005...

a SCOPE AND METHODOLOGY. we Aone a aS .
mmilttes audit committee).

ee the ae rau ‘Aud tsreview. how the:
‘department, handles ‘parole violators : unider its. New. Pardle.

Bon we determina: how ’the department clatalties parolees in: tents.

Sof tisk, how. those’ classifications’ ate used'to: determine the.

" “treatment'of parole violators, the types.of parole; violations ‘and
parolee ‘classifications that qualify. for inttermediate ‘sanctions,

eo and the types. of treatment it options available for: arole violators. Os 2 - ao

ao contro! units, and community detention: housés. In ‘addition,

We ‘also were’asked. to assess the steps’ ‘Used’ and the extent to
which the department | has implemented and: ‘monitored its new: a
parole policy,’ focusing on the intermediate sanction programs, wee
including electronic monitoring, substance. abuse treatment "°°

‘the audit committee asked us to determine whether the. os a oo

- department had. establ|shed: performanice: méasures to’ measure «

- the efficacy of Its parole policy tn_reducing the recidivism

rate.:The audit committee also wanted to: know the number of
"parolees who. successfully completed their parole before anid © 2
after the néw parole policy changes and the.nuimber of parolees: Bee
who were sent back.fo prison for parole Violations, as well as s the
-_wlolations they committed.. ee ,

Shortly after the audit’ committee approved the audit; the

_ department. secretaty. terminated the department’ suse’of the
‘intermediate. sanction programs as an alternative to parole se
‘revocation and return to prison. The programs we were asked to

. audit had been operating for 14 months of less when they were

canceled, so" the data avallable for,our ‘enalysts.¥ were limited.

7 he audit committee also asked that we. deterinine ‘whether .
‘there Is: evidence that’ the new policy, resulted in cost shifting —
from the. State: to local governments, and whether parole policies coe
"vary across regioris within the State. Finally, We.were asked'to
compare: ‘the State’s polictes regarding parole violators and the -

. use of Intermedlate sanctions te to those of other states,

To determirie the types of treatment 1 Gptions a available for”
parole violators, and the types of parole violations and parolee: -
- Classifications that quallfy for intermediate sanctions, we

__teviewed applicable state laws, the department’ $ operational -

~ manual; and:its policies and: procedures for the intermediate -.
“sanctions. For additional clarification on types of parole =
: Wlolatlons,: we reviewed the laws and regulations pertaining ¢ to” ° a we
“thet board. oO : oe

We determined how. the . department classifies parolee ni risk, wand. a

- how those classifications affect the, treatment of parole wiolatois, by. oe,

~ reviewing state ‘regulations and. ‘the : department’ $: operations smanval- Se
to identify the Classification. levels of, ‘parolee: risk and the’ criteria used.” ee
: to assign a risk classification Jevel'to 4 parolee. We also.interviewed 7°
parole division: staff to ‘determine howa: -parolee’s risk classification Mae
-affected d plicement It ina an intermediate sanction program. ge a

_~ Callfornta State Auditor Report 2005-111 ~" 0

os Toa ‘assess’ s'the | extent to > which the department w was, able: to:.
oe implement: its parole policy and intermediate sanction programs *.
. “rand whether parole policies. varied across ‘Tegions, ‘within the State,
oes) werlnterviewed: parole division staff and reviewed policies: for. 7
wo the Intermédiate sanction programs, the. -departmienit’s contiacts
ee with: ‘program service. providers, and. program uillization: data:
_. " Wealso evaluated ‘significant problems ‘that occurred during the | a
Dn ‘implementation phase: of the intermediate sanction | Programs.”

. - To. determine whether. pesfoxmarice n measures existed for the. a
~-\ datermediate sariction programs, we reviewed department policies

i ‘interviewed certain parole division program admintstrators to -
ooo determine how. they w would measure: the success rot each program.

a To accomplish the intent of the ‘audit committee to evaluate
-. the effectiveness of the intermediate sanction. programs, we.
- determined the number of parolees who participated inan
_ > {atermediate sanction program and whether they completed
:_ .their parole. or were sent back to prison for parole violations -
_-. of new crimes, We made'thlis determination: by analyzing data
.. as of March 31, 2005: (for the Halfway. Back program. and’ the |

” forthe SATCU ‘program aftercare), that the department, had’
_. + -¢ollected from’ program service providers. We also analyzed:as. ”
_ of May 20,'200S, the: most recent available data at‘the ‘time for-
“+. the ESATCU program and data ‘from: the department's: Offender...
_ ‘Based Information System as of May 31, 2005—the mast recent.
full month at the thme‘of our. fieldwork. We ‘determined that:
“So the records ‘supporting the status of parole violators contained -
in the departments Offendet-Based Information System and «
fo the ‘program: data were. sufficiently, reliable for the purposes of -
a8 our analysis: by first obtalning an understanding : Ofhowthe. 0.8.
co information | is compiled a and then testing it. as necessaty. ‘ . ce RE

Q * To. ) determin whether there Is. s ciideniee that the
resulted in’ cost ‘shifting ‘from. the State to’ local governments, oe oe
m4 we: reviewed how, programs: were ‘funded: and. whether. new.

a _Interinediate: sanction programs -were totally : funded by.the State.
7’ Bor example, “the départinent pald: $59 per ‘day, per participant to-
© the Ideal jaits ‘that chose to contract ‘with the: departinent: forthe *
30-day jail componeitt ‘of the SATCU program. ‘Therefore, we diid-- wet
-'” “not find’evidence that’ the Programs resulted io cost t shifting to.
" “Joéal law-enforcement. . oe Tn

and contiacts with program service providers. In addition, we: -

jail ‘component of the SATCU program), and May 31, 2005°*

wt polly”

imposed on: local governments, ‘We found that, the -

california State, Auditor R

Finally; to compare the State’ 5 policy regarding parole violators.
_ andthe use of ‘intermediate: ‘sanction programs to. those of
“other states, we: selected a sample of eight states—Florida, -
‘Maryland, ‘Michigan, ‘New York, Texas, ‘Vermont, Washington,
|. .and Wiscorisin—some. of which were cited. in‘the Little Hoover.
2 ‘Coramission’ § November 2003 report as examples of statés-
wath parole’ reforms. Using: publicly:z available information and:
4 interviews with correctional officlals from” those. states, we - ,

' :” gathered information specifically related to whether theyuse =

“intermediate sanctions for parole. violators in Heu of revoking . |

their parole. ‘We present this: information and a comparison of the he cet

.. factors these states use in calculating their recidivism rates as well
, os as thelt most st currently reported recidivism rate in Appendix AL 2

coe _Callfornia State Auditor Report 2005-111 02) 0 pss

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“> 4. Blank page inserted for reproduction purposes only. 8 0

TE Galifornta State Auditor Report 2005-1110 0s)

- ‘-of Using Intermediate Sanctions ~

Toa The Department F Had No- jo Basis for.

- ‘Determining Whether the Benefits: Sie

“e Outweighed the Risk to, Public He Safety |

- conor si suM MARY:

“the secretary of the California Departmeitt 0 of Corrections
- and Rehabilitation (department) terminated the use of”
_ ai the intermediate’ sanction programs as ‘alternatives to parole oS
revocation and return. to prison because he saw-no evidence. that

- the programs improved public safety. The departirient’s Division |

- of Adult Parole Operations (parole division), which oversaw the.
" “ intermaediate sanction programs, had collected some data on these’

".. programs but had not established performance benchmarks or”

-afialyzed the data, As a result, ‘the parole division did not know |

: - “whether the increased risk to. ‘Bublic safety associated with allowing Sets
~ “parole'v violators to stay, in comumiunities rather ‘than returning, them” os oe

| to prison was worth, the benefits it. wanted to achieve.

- | The} parole division belleved that jiriplementing the intermediate o

‘- sanction programs: ‘would result in savings of. $50. 2 million: in.
~ fiscal-year 2003-04 and $100.5, ‘million: ‘in fiscal year 2004-05. °

co However, these savings. estimates were rot fully realized’ because

: the department, did not take into account that.a ramping-up petlod

was needed before the programs reached full capacity. Also; fora

* ‘number of i reasons, none of the | programs were ‘in iplemented on -

. “time, as we discuss further in Chapter 2. Thus, we estimate that for. : che oo
‘parole violators’ placed inthe Substance Abuse Treatnent Control. © 2: -

! the department saved only $14.5 5 rmillion..

- a -was established by: the: agteetiient. The varole division ie Hoped ° Qf Cor
"|. that participating parole violators would benefit’ from’ the drugand. |. ~

“3 - -alcohol counseling and other services they received while in the ..

-‘Callfornia State Auditor Report 2005-111.

‘“Unilts (SATCU) anid Halfway. Back programs by I December 31, 2004 , hon, ee

cS were Intenided to help the Board. of Parole Hearings (board) peo oe Se
“with the terms oF the Val Ie divia settlement agreement by. reducing a nee “ee

oF. were: sect to. héightened supervision, it was for a shorter duration, ‘
27+ “than the average of 153 days they would have spent In prison had"
ee they. been: returned. Because the parolees ‘participating in these.
oO programs: were not Incarcerated, they were not prevented from mL
a committing crimes against. the public. for. as ‘longa a ‘period as. s es
they were before thé programs existed. ‘tn, ‘fact, of 3,175 parolees °°"

PoE SATCU aind 4 Halfway’ Back’p programs, ‘resulting in’ a reduction in: Pe |
>. the State’s recidivism tate—the tate: at which Inmates released from: PORTE De
Prison are Feearned t0 prison... ‘ see Eh ee Te

"who entered the Halfway. ‘Back prograny ‘by. December 31; 2004," "
v 114—nearly « 4 percent—were'returned to’ prison as.a result of

new. crime convictlons during the petiod they otherwise would:

a have been In prison, The SATCU. program had sirhilar results.

the parole division mininaizéd the risk to. public safely by placing oo
Jess dangerous parole violators in the | ‘programs and, by designing. So
‘the programs to provide strict control or close monttoring of the 2th

- participating parole vielators.

On’ April. 1, 2005, the.
“department secretary.
oo terminated the use.of the -

In termediate ‘sanction oo
"programs explaining that .
_there was no evidence that “

. :. the’ programs, ‘as originally oS

oe eee |
pe increased public safety...

secretary; stated. that there were: ‘several reasons for'the chatige,
sthe most itriportant of which. was. the: department's ongoing.

ot THE PAROLE DIVISION DID. D NOTE! ESTABLISH: BENCHMARKS ~
i TO EVALUATE THE: INTERMEDIATE: SANCTION, PROGRAMS —
Although the: parole ‘diviston had gathered data about the
“Intermediate sanctlon programs, it did not analyze the datato - .
e evaluate the} programs’ impact on public safety. To addition,
| the parole division did not establish benchmarks toevaluiate the _
-_” ‘programs, suchas acceptable'tetum to custody fates for'participants, =.
‘Therefore, the parole’ division was unable to evaluate whether the - -°
additional risk. -to public safety Inherent in the intermediate a,
_ sanction programs was worth, the: benefits that ft wanted to” : . - co
“achleve—for example, saving the. State money. fe

_" On April 11, 2008, ‘the department. secretary: terminated the Yh : ol eae
ols . Use of- the jntetmediate sanction. programs as alternatives OU,
ae revoking: parole. and: returning parole’ violators to: prison:. In- 30

the memo: arinourictong the.termination’ ‘of the ‘programs, t the:.”

omimitment to public safe @ secretary went onto: exon

eos “that thete: ‘was nia: evidence: that the intermediate. sanction ©

+ /, sprograms, as- originally. designed and. implemented, impioved «
'" public safety,, and: che stated. that the programs: ‘had beer beset by:

oe impligmentation difficulties due. to contract award ‘disputes and ;
shortage of avaliable beds.-

California State ‘Auditor Report 2005-11

oo —<—<< ° “ines secretary ‘also stated: that the agency y téceritly b had ‘adopted it its

- Although the parole... first-ever strategic. plan,- with the stated goal of improving public . :
- _- division. had ‘gathered data . ‘safety through evidence-based crime ‘prevention: and. strategles to.’ ns
- “about the Intermediate.” -- ~geduce réetdivism. To implement its goals, the agency, as part of Its

De, ‘sanction programs, ft did. a reoiganization, planned to establish an ‘office of. pollcy, planning, = ag
Se fot. analyze thedata to...” and research that. would be responsibile | for gathering evidence: based os
co gyaluate the. programs’ os ae “ best practices 1 from throughout the nation. to‘determine how, the
ve impact on. public safely. "| agency can ‘improve public safety by effectively adopting measures : o a
| =e have proven ts to be successful supervision tools. . oe OSes

- The Parole Division Had ‘Certain. Data Available for the
Intermediate: Sanetion Programs That It Could Have Analyzed
“Although. the parole division had data available about the a
intermediate sanction programs, it did.not-use these data’ to
evaluate the programs. The director of the parole. division ‘says the
department encourages Its program managers.to collect program
data that'can be used for future research, but it does not conduct its
own research and evaluations of new programs that are funded by”
. the Legislature; rather, It contracts with outside agencies to perform —
such work because the analysés are ‘often complex and lorig-term -:
in nature. For. example, the parole division: had parolee data about ~
“the SATCU program because the contracts required. theservice =.
providers to collect detailed data on participating. parolees inane et
_ electronic format. ‘These data included identifying information
’ about each participant, their program entrance ‘and ‘exit dates, *.
and reasons for exiting. Until December 2004, similar data for the-
. Halfway Back | program ‘existed only as paper copies of individual -
a I a _-contractois’ monthly invoices, rather than in electronic format.
Ne Beginning In December 2004, Halfway Back program contractors .
ee . were. asked to complete a data collection form that the parole
. division: had. designed. When the programs were terminated, the. a
Le parole division had ‘not compiled ‘the data.from the earlier involces * oS
ol and, used. them to evaluate the ne Halfway: Back program. a

The department also had data in its laige ‘databases of inmate oe
and parolee’ information that the parole division could have oa
an used to determine: ‘whether parolees 1 who ‘participated | Inthe
“ dntermediate sanction programs committed new crlimes‘or, parole oP ee
‘yidlations, But it did not use. the data. for this putpose and-had: .
Oe ‘plans to perforni. such an analysts: According to the. director
—<» of the parole division, the division did't ot have the, miechahisms.
v3" ~" fin’place'to- provide any meaningful data other 'tlian the. gross ~ Bo
number of. of parolees placed In the programs and the rate of.

, a The department rhaintalis lnwnate and paola formation in WOflendar Based: : so : Te
_ Information System: oa : : = Ce es

-Calfornia State, ‘Auditor Report 2005-771

-Motittoring.« the j programs .
“. ustrig established.

"relevant to the’ secretary's
decision’ to terminate . :
“the: programs. “

. ‘yeturn | to. custody; as. of a a given potnt kn: time: Moreover, thie o
parole ¢ division. indicated that it was advised. that it was too 0 early

Hoivever, as the departments secretary stated: the department. has an,
ongoing commitment’ to ) public’ safety, soit should. have established’ Opn
“> benchmarks and’ monitored the programs’ impact on public. safety. PL et

: “ ‘benchmarks would. have: . -
~ provided information <

Ae

against therm: This monitoring would-have provided information:

-“relevant.to the secretary's decision:to. terminate the prograins,. such a
“las whether the percentages of parolees in the programs who were’
convicted of new crimes or who committed parole violations when: te
"they otherwise would have been i prison were within acceptable =. :-

~~ Limits, in addition, had the parole division established benchmarks

.- for what it considered: -sticcess, such as a. minimum number of parole og
_. “ylolators completing. the programs, and arialyzed the available a

. ‘data—similar to. what we have done for this report—the secretary -

could have used the analyses in deciding whether terminating -.

_ ~~ the intermediate sanction programs was the best choice. F inally,

. my o :

by defining benchmarks before implementing the programs, the

_ parole division could have determined whether it needed additional -
- data to measure against the. established benchmarks. In additlonto”
* othe analyses we present later in this chapter, Appendix B presents oS So
"the short-term results of: ‘parole, violators who-were placedinthe °° +7.
"> «Halfway Back, SATCU; and. Enhanced Siibstance Abuse Treatment, a oe
Control | Unit @SATCU) progrants:, co , .

. ‘a Department Contractor / Determined. That itv Was Too o Early a
to Evaluate the New Parole Model - ,

oe In Decembér 2004, the department contracted swith the. University.” me!
- of Galifornia, Irvine (university) to.assess the readiness ofthe

.. , New Parole. Model for evaluation, to deterrnitie whether program. .

+ .qutcomes.and: impacts coiild be measured, and to identify. -
ce ‘short-, and long-term outcomes for each program, Among other
" tasks,'the contiact specified that, the project wwas'to begin that -
L month and continue through June 30,'2007, when: ‘the’ siniversity "
| Was to present: its findings, to the: Legislature and the department.’ te
. However, according: to the atceot of the: parole ivision,, th

/ “aa the tine e the intenniediate sanction programs’ ‘were ‘términated oe
In. April 2005, the iiniversity t had: not started its. sector of them...

Los departnient | to spend f for 1 establishing perforinance 1 nieasures and.
_. evaluating the effectiveness of various prisonand parole | programs.
— The department is using.the funds to help establish a, reséarch Tr
_ © center‘at the university, where the university: will evaluate juventle oe
«and adult prison programs, including rehabilitation, parole, and : *
_- ineeintry. programs, and will proyide information that It believes:
~-. could help department officials make Polley a decistons.

LATE IMPLEMENTATION AND UNREALISTIC EXPECTATIONS” So

= PREVENTED THE INTERMEDIATE SANCTION PROG RAMS
- FROM-ACHIEVING DESIRED SAVINGS. Bote is

vo The iritermediaté sanction programs did not reach ‘anticipated -
participation, levels because of late implementation and unrealistic.
expectations, so the savings were far less than had been projected.
-* As we discuss in Chapter-2, ‘none of the-intermediate sanction
- programs were implemented as planned by January 1, 2004, so
_ parole violators could not be.placed in the programs as- -early-as had ©
been intended: The Halfway Back program bégan in February 2004; "
the SATCU program began in May 2004; and the Electronic _

In-Home Detention (EID) program. never fully: materlalized:and thus: a

‘tdid not contribute. to.the savings that the parole division’ originally ©
.- had anticipated it would provide. In additton, the parole division’ $s
Oe savings estimates for both fiscal years. were based on having. . _
- » 900 beds for the- Halfway. Back program and 1,316 SATCU jail -
-. ‘beds—2,216 total beds. No. contracts were thade for approximately,

‘one-quarter oft those beds.

PE The parote divistot’ $ 's expectation t that the p programs would
, a | _ be fully occupied. by the. first date of implementation. was:
in calculating its savings -. _unreallstic. In-calculating its. savings: estimates, the parole.

vas. . estimates, the parole ee! “division did: ‘not.take Into-actount the fact that: there ‘would. be =

nant, -- woild'bé a ramping:u “Ip -

re division did-not takeinto. .. a xamping-up perlod: during which’ occupancy, in the programs ot

account the fact that there. . “would increase gradually. Instead, the parole d division’ s estimates ee,

mE oy assumed full A eapaciy A from ‘the’ ebegianing.
pote period during. which .
es occupancy’: in the prograins et
oe would. increase gradually. “fiscal year "2003-04 by: placing 4, (000. parole ‘violators in’ ‘the: uD’.
program or ‘the. Halfway: Back. program’ ‘and. 8,000 In the’ SATCU

‘program. Fos fiscal: year 2 2004-05 the parole. ‘divijion, estimated -
*. savings of ‘approximately. $100.5: milllon—twice that of fiscal: year”
oa : 2003-04, based. on placing:8,000. parole ‘violators In either the HID

) ‘program. or the Halfway. Back program and 16,000 in the SATCU :
‘program. This was despite | the fact that ‘the inmates who occupied -

~ the faclltéles that the’jparole division plained to use for: the Halfway: Bed Wa

~ California'State Auditor Report 05.7 r = ~

a Back rogram would need to be ‘Moved out of those facilities’. - .

ao gadually Some beds would: ‘not! be available for ete prograrn nant

. the transition was complete. Additionally,’ after'the program was -
at available for use, parole. agents had to establish a ‘pipeline of ‘eligible:
ve parole violators ‘willing to be Placed in. the Halfway } Back Facilities, Oe

os AS a resialt; by. the. end oftu uné 3004, ‘parole violators secupled
“ “+ 473 of the 634 beds available to ‘them, while the remaining beds. .
» -,dn-the ‘Halfway’ Back. facilities were still: occupied by Inmates. The. es
. transition was complete byt ‘Novernber 2004, nearly 10. months after pee
> thie’ Halfway,B Back program was: implemented, Although. most of. the. -
| +. beds were filled, the program operated at 82 percent to 91 percent |
" Capacity through: April 2005. It was impossible for the parole.
___ ‘diviston to attain its estimated savirigs goals because the facilities; 0.
. never reached 100 percent capaclty, Figure.4. shows the transitioning ts
"out of Inmates and placement of parole violators in the Halfway ~~ .
Back facilities from February 2004, when they Ww were first available, for
_ se through April 2008. J

~ FIGURE 4

, Beds Occupied by Inmates, and Parole Violators in. n Halfway 8 Back Program Facllities -
a February 2 2004 Through April 2 2005 Se,

ee: Planted’ huimber of Beds.
2 oie Actual number oi beds.” . , soa

eT es So, —_—- Number of beds oceamléd by pafale violators
Vee po : . Se [Number of béds pccupled by Inmates o

f

ae 800 FB i. a
, Hh ta te i

a Feb. “Mat: My June ni “igs: Sept “att. “Now. Dec. Jan.:. Feb: Max, Ae
- 2004 | . Pe 2005 = on

“Source: Community Correctional Reentry’ Centers tact counts anid o ocoupancy rates collected tye the California Deparment of. woe a
L ‘Corrections and Rehabilitation, . ee oe

i Note: Occupancy data Is f for the last pre date In the: month,

~alfornl a Sate Astor Report 2005-1 1

The: parole division assutaed that’ Ie would {have 900 t beds Ca
available’ for the Halfway Back program;, however, only 792. beds Ba Teed
“were available between February-and June.2004. Because-one. °° 097
. “contractor. terminated | its contract:on: June: 30, 2004, ‘this. numbet t

_.Was reduced to. 747. and: Stayed at that level. ‘until the program“.
~! was'ternifnated. Ina letter to:the parole division. to terminate an
_, its: contract, the: contractor: indicated that it was experlenicing'
”: ‘financial ‘problems: and. was: ‘concerned about the effect the |.
Lotad facility's shift from: an inmate. population toa population ot.
bore -inmativated and Incorrigible parolees’ ‘would, have’ ‘on staff

oS and community safety.” De

os The SATCU program got off: toa 1 slow start and fever ‘reached .
“full capacity, even though the number of Jal! beds.avallable ..
2 was ‘significantly less than: the 1,316 beds. the parole ¢ division - oe
- J estimated Jt would neéd to reach its savings goal. As we discuss
Jin Chapter. Z, the parole. division had difficulty contracting
-, for SATCU jail beds because some counties were not willing to.
accept the datly fall: rate oftered and others lacked space.

Pare . Parole agents began placing parole Violators in the SATCU jails
os oo yo a statewide In July'2004, and: ‘occupancy gradually: increased :

vhs to” "ayer time: However, of the 930 SATCU jail beds available by” ee
“March 30, 2005, only 656, or’71. percent,-were occupied. Figure So
- "ofthe following page shows the monthly ¢ occupancy for the Pe Pe
ao »SATCU jails. a ce . a ae

cs A. substantlat percentage of the jail beds available for ihe i

.., _ $ATCU.program—70 percent-—were | located ina large detention Be

1.” :facility in Los Angeles County. According to the ditector of the | ee
eMedia parole diviston,. having 2 a single large facility serve. sucha. large:
“s.”  geographic.aréa was problematic for parole agents wanting to .

refer parole violators tothe SATCU’ program because of the need: 0

“to. transport | them: long distances to-this facility. The: department © ee

* “Intended that:the facility serve two of its four’ parole regions, |. °°."

.. Fegions UI and [V, and part: of: region tt, ‘which constitutes . a.

“Signigéant, portion of the State. A map of the State with the’.

epartmient’s parole’ regions is shown. in the. Introduction on:

California State Auditor, Report

oe “Oecupancy of ‘SATCU yan Beds .
~ bal 2004" Through pelt 2¢ 2005... be a :

"Number of Beds)

WO Sept Soe Now “Bee: Tyan Reb, 0 Man > Apa

2 ROS

Source: SATCU: ral éccupancy rate reports from. the Calltornla Department of Corrections and Retin : cs
Note: Occupancy data shown i is. for the last reported date j in. the month ne

uo Although the Parole Division : bid Not Calculate the Savings
Resulting From the Intermediate Sanction Programs, We ©

: Estimated. That They Were Substantially Less Than’ Anticipated. oe

oe : ‘The’ low occupancy. of the SATCU aid’ Halfway Back ‘programs. oe

_ ("eligibility for-both progiams t to Include. some sériouis and violent.
: 2 “Soffenders, and the Halfway Back program was. expanded further tO
. “include parole'violatots eligible for Proposition 36. programs.5 Asa"
result of the implementation: problems'2 and the. gradual utilization
at ‘occutréd, only 2,567 parole violators iad been placed int the ™.

” " nenviolant defendants, probatiqners, and paroleés charged \ ‘with simple drug. ‘possession .

1) |. ar drug abuse offenses from iricarceration Into comrnunity- -basedl subilance abuse programs,
‘2 + The SATCU program: ‘required participants to spend 30 days In jail, therefore, the egy ce

for, the’ ‘SATO brgram excluded parole violato ‘allgitate fo sositlons abs Seqvicts. ©

ditor Report 2 200521 11. i.

oo “occurred despite the fact that the parole ‘division: had: expanded the Lo!

pile. “¢Propostion 36 wos pasiad by voterin 2000: Hiective fly, 001; Rsintent todivert’ oS

Case 2'90-cv,00820-KIM-SCR

oe he parole division. did: not ‘evaluaté the data it had about the -
oo Back and SATCU, programs, $0 It was unable’ to calculaté
the savings achieved by the: programs: It'was apparent, however, {0-25 7 1
“, that the savings were substantially less than anticipated becauseof ss -)
“the delays in implementing the programs and placing parole ' Violators. OEP Lge.
". * " inthem, Using:the. parole division's estimates and data about the ©. 0
programs and the participants, we estimated that for the 5,742 pace woe
~~ wiolators placed | In. the programs by December 31, 2004—2,567 in. .
© © the SATCU program: and 3,175.in the : Halfway Back: program—the .:
7 ‘department § saved $14.5. snillion—$7. 4 million ‘and: $27.1. tnillion, -
“respectively. The savings equates to an average. $1.2'million per -
“month over a 12-mionth pertod, far short of the average $8.4 million”
"+ per month it would have had to save to: achieve its planned savings
_ of $50.2 million for fiscal year 2003-04 and $100.5 million for fiscal
"year 2004-05. Table 2 compares our estimate of the cost of using the’
"intermediate sanction programs to the parole divistori’s estimated cost -
of returning the parole violators to prison. cy

TABLE 2.

“Estimated Savings. from Using. intermediate Sanctions oe
Rather “Than: Parole Revocation as. of December 31, 2004.
wos , (Dollars: in Millfons) . het

" “Total Savings

~Souices!. Bureau of State Audlts’ analysis of Califomnla Department of Corrections sd Retiabiliation data and budget documents...

oh The’ costs. shown’ in the table do aot account for the additional
costs to Jocal’ Jaw enforcement agencies associated with ‘Tocating:
» “: landvareesting the parole violators. who were returned:to custody, ~~
“obtaining:c ‘conyictions for. those: returned. for new. erlmés, the: costs ae
. 7 esto the: Board Of: Parole. Hearings: (board) for holding: revocation . :
: "earings: for those who were returned for pardle violations, ind.
the costs to: victims of the ‘parole ‘yidlators who were convicted
of new crimes. Furthermore, the savings figures do notaccount
-_ for benefits that aré-not quantifiable, such as the impact that the = 0. os.
”. Halfway: Back and SATCU ptograms may have had onthe future. 7: ©
oe | behiaviot of of participants; which | we discuss i. the next t section. Sat

“California State Auditor 5 Ropar 2005 a a wo

my THE INTERMEDIATE E SANCTI iON N PROGRAMS # HAD.
oo OTHER MEANINGFUL BENEFITS. Woes
Mn addition to the cost. savings; ‘the patale division hoped that -
le -parole violatots ‘would ‘benefit from services they, received:
oo while in ‘the: SATCU: ‘and Hatfway’ Back programs: ‘to- help. fa.
20 Uthem’ reintegrate | into:soctety.and.completé'theté paroleterms
=. successfully, resulting. in a lower. ‘tecldivism rate. “Although | there
The SATCU and Halfway. SWS. TO tehabilitative Aspect, to,the-EID: prograni, the SATCU™ ve
‘Back programs. provided ©. _ and Halfway Back programs provided pattictpants-with am. ee
‘participants with an array. “array of services, such as drug and: alcohol: counseling, life skills: ee eS
f services, suchas drig | _- ‘management, and eaployment sounseling. - oy es pies
nd alcohol counseling, mi. Cle eee
| iife skills management, and The department believes that the benefits provided by's such’ oe
* gimployment couiriseling. . services, such.as Improvement in an iridividual's quality of life;
= ° are not measured easily and require analysis of tata collected -
. overa long peilod of time. It planned to hire a contractor to:
: study the long-term effects of the New Parole Model and the
_ / individual programs on. the behavior of parole violators. The °.
__ tables in Apperidix B show that for. two of the three intermediate
a sanction programs, as of May . 31, ‘2005, the ‘percentage of.
a -parti¢tpants who. were. reincarcérated was double ormoré.
-) among those ‘who did not: complete’ the: programs; compared, me
With: the’ percén tage among those who compléted the programs.
Y These: resiilts suggest that some participants who- -wéte successful.
"may /have improved | their behavior within the time period we-
“ reviewed, Although’ these results are short term,.the patole .
ot division: ‘could use this type of. information. to establish a
Loe baseline of performance and compare that baseline against.
woe results, at yt future points in’ time. ee .

os In addttion, the intermediate s sanction programs Were seen as ae oo
> a way’ ‘to help reduce” the workload of ‘parole revocation hearings . “a we cot

. +» > béfore.the board. Parolees: facing parole: ‘tevocation lave the. "0:
Sight to a heatirig before the board. As a result of the’ settlement

of the-Valdivia lawsuit against the State, the board. is required:
Met to conduct final tevoratlon hearings: within 35 days: aftet the”

Jo agree’ to be placed la ari: intermediate sanction program: in tteu' -* o -
ut OF continuing with the. ‘patole tevotatton: ‘process. As part: of thelr".
..“-aigréernerit; the parole violators watved their right to a board.
| hearing, thereby avoiding t the. risk. that : the board w ould revoke -

~ Californie State Auditor eport 2005511 We

“the parc ‘Therefore placing parole violators in the 2 intermediate oy

oF "the Intermediate sanction :

. oe also a way to reduce the: board's hearing caseload, increasing the"
“programs ' was not ‘only :

o Iikelthood that it could meet the 35-day. déadline: Byaluating «
away to save: money, - the effect: of the Intermediate: sanction’ programs: ‘on, the boatd’s Ss
Sobut was also: awayto. o> hearing caséload was outside the scope of-our audit. “However, - ot
reduce: the Board of Parole: * because the approximately . 5,700 pardle's Siolators who éntered the: 2 :
ws “ Hearhigs’< ‘caselaad,” -<.,Halfway-Back and SATCU programs by, December'31, 2004, salve °
oo . ne “ their right to a parole revocation hearing, t the board's caseload
CE tne «potentially w was reduced aby that umber,

oF Placing parole: violators i in? sanction programs was not-only a. way to: save money, ‘but was o.

a THE INTERMEDIATE SANCTION PROGRAMS: PROVIDED’ ne

LESS. ‘SUPERVISION. THAN PRISON, AND SOME PAROLE |

. VIOLATORS IN THESE PROGRAMS COMMITTED CRIMES we

Inherently, there. Is an Increased: isk. to public safety by placing .
', parole Violators in programs that are shorter in duration than the

_- . tlme they otherwise would have Spent in prison. The parole division: ° .

 fhinimized this risk by Ilmiting placement In the programs to parole
violators who committed minor violations of their parole or the -

a . Jaw—those it believed would be less likely to commit serious crimes, cae

so iy 5.4.3, - However, parole violators in the Intermediate sanction programs
coy : 7 were ‘supervised closely. for fewer than the average 153 days-they’..
. would have spent in ‘prison, had they been retuned, so they could - .
4 ~commilt, other parole violations and crimes. sooner * than if they had* .
a been. retuméd to > prison. | oF . pee

ye ee aS parole Violators in the Intermediate S Sanction: Programs Were. ee -
So Under Less Supervision, Than Prison Would Have Provided:

oe Although the. intermédlate sanction ptograms provided: *
mate “supervision of the parole ‘violators, who participated. in them,

wo ‘ptovided less supervision than prisoit, would have provided... ”
. “L" Moreover, 1,081 of the 2,567. particlpanits In the SATCU program
2) did not. attend the required + ‘aftercare services after being - Meee,

ve released: from: jal. As’ a: “résutt,. ‘the ‘additional yersight: that. thie |
* aftercare services: ‘would, have provided did not-occut: for many. .
SAU pattleiparits, ; and a tay may: have ‘been’ ‘uns sieerwset

wie

"they allowed participants to.remain in communities'and thus... : on

me a new crime’ and: 346% were returned to custody for violating ne 2 we

: _ parole: within the 153- day. average: time. frame ‘they ‘would have. . -
otherwise spent, in ‘prison’ if the SATCU piogram, did not exist.’
pet We. discuss this! In more detall in a subsequent section.”

nA

moo alo Sais Hoa Hapa os

- The satou: ‘program was as designed: for parole vlolatots whose”
hae ‘primary problem Is drug or alcohol dependency. The department's”: I
-. ” Office of Substance ’Abise Programs (OSAP) manager responsibie for ©,
3 ethe aftercare contracts explained that many of these parole violators at

‘+ may be in the throes: OF detoxifying from drugs’ oralcohdl during:
"+, sthe 30 days they spend ini jail‘as the first component of the SATCU
Dt program. ‘She belléves the 30-day : substance’ abuse: eaaeicorenet

“to them in all was less effective fox participants ¥ who @ are re detoning.

es “afta the. patolees participating in the'SaTCU program were. ee
__, released from jail, they were ordered to: attend the 90-day aftercare pe
component ¢ of the program, which was provided ‘by agencies
In the- community. In a letter to the parole division, the chief of -
" the OSAP indicated that residential care has been’ demonstrated -
“to be most: ‘effective. It is also more. expensive, however, sO.
‘Most participants were referted to ‘nonresidenttal. aftercare, -
‘Additionally, according. to the letter, to improve ‘the success rate.
_ for those referred to nonresidential aftercare, transportation: to
". the aftercaré service providers should be provided. According .
‘to the OSAP’s records, many-of those who were refetred to.
nonresidential aftercare programs dig not. ‘receive ‘transportation.

a Consequently, as Figure B.2 In ‘Appendix B shows, after spending Co by
~ - time in a SATCU jall, 46 percent of these parolees did: Mot participate...”
~. “in the aftercare portion of the SATCU program. The aftercare
-agencles were required to report patolees who were feferred:to them:
"but did not show.up as scheduled. However, it is reasonable to -
~ believe that i many "parolees released from SATCU jalls resumed their
_ . use of drugs or alcohol and that some may ‘have committed: other:
Ls crimes before. ‘being’ tracked down by thelr Parole agents:

a similarly; ithe! Halfway B Back prograrn regulted participants to fo
reside ina closely: ‘supervised halfway houise for a. specified. :

coe After completing the. - *. "number's ‘of ‘days; + ‘the parole division. expected: the average stay
_ AS- day Halfway Back .. . to be 45 days.’ However, after. completing the: ‘Halfway. Back.” -
7 “ progrann, the erttipants De program, ‘the participants were released and ‘rétuméd to regular Ba
were. released and- parole’ ‘supervision. Parolees. in the E Ypr gram \ wore: electronic ca '

° feturned ta: regular” "-.. “tmoniltoring devices.on. their ankles.as, special condition. of ‘-
os parole: Supervision... oe parole;: however: they were not: supervised as: ‘closely: as parolees
: — dnt élthér the. 30-day jail. component | of the: SATCU program Of.
é Halfway Back’ program. because. they were'allowed to. ‘remairi we
“ dnvthelr-résidences‘and. 0 to'and from thelr,jobs. When they |= *”
“t+ -completed the 45-day: program, the’ ‘arikle devices were ‘removed - oe
> + and the’ special condition of parole ended. Table 3:compares.
then nuniber of days parole: violators were superviséd inthe , _
ne . ‘intermediate sanction programs to the average: ‘nuimber. of ‘day:
ry would have ‘spent in Prison. - ”

<! “California State Aue tor Report 20817, A,

O days i in jail: :

L990 laysin unsecured
_ conimunity aftercare pragrams

" Mallway Back" <- - Average 45 days in closely...
- ae , Supervised + residential Facey.

Soviet California Department of Corrections and Rehabilitation.

: ‘The Parole Division Minimiized the Risk to Public Safety by.
ce Placing Less. Dangerous Parole Violators. in the Intermediate
co » Sanction, Programs: .! . Te .

~ Programs that: involve ‘keeping parolees + who have e histories of
“ enot: fcllowing™ the fules Of their parole out-of. prison: create the
wy opportunity for. them to commit additional parole. viola tions -
> otnew.crimes and thus increase. ‘the tisk tothe’ public. To limit °
~ ; this.risk, the parole division. designed, the intermediate sanction
"programs to. provide. supervision or strict. control ofthé parole
._- . ¥lolators who particlpated in thent. ‘Although: the parole division ©
* . Jater. allowed some parole violators with histories of ; serious and |_|.
violent offenses who. had committed technical, nonsérious, be
OF nonvtolent parole, violatiqns to enter the’ programs, parole:
agents. ‘considered. not‘only thelt previous: ‘offenses but also their. -
_s| recent behavior, including tHe nature of thelz parole-vjolations,.-
“When déclding whether to.recommend: placing ajparolee In ani 2
8 ‘intermediate sanction: ‘program,’ Only nonviolent parolees: who .
“had committed minor. violations of: thelr parole’ or ‘the law. were

‘Although intermediate ‘Sanetion:P grams Increase. the
‘Public Safety. Risk in:the. Short Term, This Risk Must Be, .
oh Welghed Agairist the Desired Benefits el bee

- ‘In the short term, intermediate sanictlon: ‘programs 4 ate less.
ee effective than: ‘prison at pieventing crtmes, ‘but. ‘this. risk must’
ne Peneaned te against t the’ benefits of using such piogtamns...

Califorla State ‘Audion Report 2008: 1 o

apie

Approximately onesthird of: the 3 parole violators placed I in: th
a> SATCU or. Halfway. Back’ ‘programs were teturned. to prison.as
_> the. result of a new. conviction or parole violation during he
“183. days they. otherwise would have spent. in prison. Table 4
~“shows the nurnber of parolees who. were retutned to. custody:

. - Intermediate, sanction program.

uh However, as the table. shows;
"in the Halfway Back: ‘program who were returned to prison
ao within’ 153 days of entering the progiain, only 4 percent were” - |.
.'. keturned k because they had committed new crimes. The'result
_. ts similar for the SATCU: program. ‘Thus, notwithstanding the
. significarice of those crimes to their victims, the percentage of
parolees participating inthe two. programs who were convicted -
.. of new crimes ts'small. In the long term, the parole division -
_” " poped that the SATCU and Hatiway Back programs would help
parolees change: their behavior for the, better.

‘within. 133 days-of éntering these two. ‘programs—the: average’

(the the patole division: ‘estimates they: would have spertt'tn ::

_ptison had they ‘been returned to prison & rather than n placed ina an an,

of the 37 percent at parolees placed - -

“ Parole. Violators Placed in an. intermediate Sanction Program: as sof December 31; 2004,
“and Returned to Custody Within 153° Days ¢ of Placement, .

o se ee the piiblic, the parole division would’ need to know :
_ + -how many. parolees’ ‘committed: parole, violations and ‘how many
mo a were convicted of new crimes during’ the time: they eos

y assoctied with: Keeping individuals.
operative’ in the community. Also, for"

“Achlevinig the' desired.”
“benefits of. using He

programs in ‘Hew Of...
returning. diigible parole

uo violators to prison requires.

” a willingness to accept the ”

- edetonal risks associated |

_ withrkeeping Individuals.
“who are’ proven to: o
be uncooperative. in.
the comm unilty,

a It: is reasonable to assume that the

‘Legislature,. ewhich’ atithérized the‘use’of the. Intermediate.

* sanction progratns, understood: that the cast. of crime cannot.
. always be valued, especially the cost of crimes: against persons.” es
However, without knowing the nature ‘and extent of additional. : as

risk associated with’ keeping parole % ‘violators in the commenity; cs

"the parole: ‘division could’ not. evaluate the. success 5 of the -
- Intermediate sanction, ‘Programs appropriately.

z=. falltute. rates ta terms Sof percentages ‘of parole violations and ew" .
mo ‘crime convictions, ‘such as those:shown in Table 4 ‘that. {t'could:. -
use as benchmarks to determine ‘whether-the ptograms were _.
operating ' with accep table tsk to ¢ public:

lepartment, a ‘well as the,

Tn addition to Knowing the overall failure tate of the intermediate a
sanction programs, knowing the failure rates of those who completed oo
- A program versus those who entered a program but did mot complete oll
it would have been useful Information for the parole division'to
~~ consider when evaluating t the programs. Of 2,766 participants who.”

left the Halfway. Back program by March 31, 2005, the last. month
of data before the intermediate sanction programs were suspended, .

hon 1,160 completed the. prograrn and 1,506 did not complete it. Table.5..
: ’ Shows that 69 percent c of the parttelpants who did not: complete.
~~ the Halfway. Back program were returned to custody at least once.

a -from the time they entered the program through May 31, 2005, while -

mal 5.

29 percent of those who completed the program had. returned oe
‘to custody by then. ‘Table B. 1 in Appendix B shows the status: of all.
- 2,766 Haltway Back program participants who. entered the ‘Halfway . mo
‘Back program for the first time by, ‘December 31, 2004, and exited 1 for
‘the. first time byM March 31, 2005.° . °

~ Haltway B Back Participants Placed iy Decernber 31, "2004,

* Sources: Qureaul af State ‘Audits’ ‘analysis: of prograni 5 provider data collected by the 5 = a |

. Califomia. Department at Corrections and Rehabilitation « and Sata fromn Its Offender-Based *
“Information System. ves ep on,

Zalfornta, State Audlior Report 005.117

oS alt is Inteiesting te to. ‘note that of the 1, 439 participants v who: were,
at “returned to custody by May. 31,: 2005—332. of whom. completed. a
yr: the program and 1,107 of whom did not—1;162; or'81 peréent;.
ls were returned to custody: within the: 153- -day average time ..
os frame that. they, would have ‘Spent | In pilsorr it if the. e intermediate,
wey Sanctioa programs did’ not exist. te Dre

wes “Table 6 shows. that the SATCU: p program had similar “jest. ‘ De AY,
fre although | the results are less ‘dramatic than those for the Halfway ° Sue
“ «Back program, ‘Spectfically, of 2,527 participants who exited’ theo. ele
so SATCU jail component. by. March 31, 2005, anid had: exited SATCU.

- ‘aftercare by May 31, 2005, 1,094, or. 43 ‘percent: were returned to ..
custody at least orice by May. 31, 2005; Of the 1,094 returned to.

custody, 812, or 74 percent,-are those shown previously in Table 4.

. as having-returned within the 153-day time: frame. Table B:2

- in Appendix, B shows the status of all-2,527 SATCU program:
oo, participants who enitéred the program for the first time. by | ee ta
oO December 31, 2004, ‘and exited for the first time by May 31, 2005. Ca

TABLE & 6

vty “SATCU Participants Placed byD December 31, 2004," Sse
: ‘Who Were Returned to 0 Custody at Least Orice. ce'by May,3 34, 2005 coe

. Returned for.”
"+ -Mew<conviction “ ~

DONE IR WB RR

we Ms ‘Sources B Bureau ot’ State “pars anaijils of program proiider data collected aby’ ‘the
Da pe __* Calfomla Departnent of Corecions and Rehabilitation and data hom its fender Based
ee Antarmation: System, ve i .

ecalise we used May 3 3: “2608, 4 l
the status of participants. who ver the Haléway. Back r SATCU:
“programs for the first: ‘time; we could hot évaluate thé effectiveness.
of the programs, more fully.S seclfically, for participants wh
completed a program and: were not returned to ‘custody bj
cone ‘May 31, 2005, we were: ‘unable: to determine how. long’ they.. a
pe ‘successfully’ continued. on. -parole,, or: whether they successfully De
vee completed t their Parole periods. Howeves using | the data, it. had, ‘the: a

IMSCR Document 243%" ‘Filéd os/daio7 . Page’bd ofa

- “thea could ave measured the sguults against berichmarks such: as - : oes . .
-_ a:percentage of paiticlpants who did not return: to custody within: aoa
specified time perlod after, completing a Program. Det a

2 “IASY we e discusted. in the introduction, in addition 1 to the BID, Halley =
"Back, and SATCU programs, the dapartment implemented an .
..- ‘Intermediate sanction program called the Enhanced Substance Abuise Moe
..) “Treatment Control Untt (ESATCU) | program-in March 2004. The -
8 department: established the ESATCU program for different reasons...
:- than for establishing the other intermediate sanction programs. tt oe
|.” established the ESATCU program. to make use of an existing facili
. : that would be occupied partly. by. Inmates In'a similar substance : .
_*- abuse’ program, The program was not. avallable statewide, so the’
_- _ department did not consider it a part of its: New Parole Model,
However, the ESATCU program had potential rehabilitation: ‘°°
_- benefits sirhilar to those for the Halfway Back‘and SATCU: ptograms,
: although it: could serve eonly 800 parolees annually.

- Becatise the ESATCU proguarn'n was an intermediate “sanction
program: used i as an alternative to ptison,. it had the: same public. .
. Safety. issues as the other three ‘programs. Partlelpants were -
- . monitored closely in‘a correctional facility for 90 days ; and then, -
released, which meant ‘that, on. average, they. were released, 63 days»
*, ”. sooner than if thelc parole had been revoked, Table 7 shows that °
-. 89 percent of the participants who.did not complete’ the ESATCU™
- program because ‘they: were. removed from the program were:
. -.feturned to custody at least once from the time they enteted the.
_: program through May; 31, 2005, Eni contrast, 37 percent ¢ of those
. who completed th the program had, retutned by then.

youn Whore ee
TESATCU. Participants Pl Placed aby December 31, 2004,

Who Were Returned to Custody’ at Least Once by May 31, 2005

Sources: “Bureau of. State ‘Audits’ analysis of pi program ‘provides data ‘collected by the oo
Callfomla Department of Corrections and Rehabilitation and data from Its Offender. Based ::
* Information, System ao ee ON age

" a ‘Caitfora State  Aiditor Report 2005-711.

s Of the 174 participants who returned t to custody; 75 were retu ed:
os, | “within 153 days of entering the: program, including 73: participants n
“2~-who committed parole, violations and two who. were:convicted oe
- “ofnew:crimes: Table’B.3:In Appendix B shows the status of all
. oe ESATCU: U participants a5 of May 31 2005- Es

wo RECOMMENDATIONS eS
oe ‘When planning future intermediate sanction programs, the parole we
'.. division should decide on appropriate k benchmarks formonitoring: = 0° 0-2
"performance; Identify the data it will-need’ to. measure performance.
‘against those benchmarks; and ensure that reliable data collection . a
_* Griechanisths: are tn place before a program is implemented. ‘After
ao implementing anew intermediate sanction program, the parole.
_« division should analyze the data it has collécted and, if relevant, |
use the data.in its existing databases to monitor and evaluate the
program s effectiveness onan ongoing basis. :

The parole division should ensure ‘that the savirigs @ estimates

developed during program planning are based on reasonable

: assumptions, Tf those assumptions change, it should update the
ee savings: estimates, Promptly. Serve

The parole diviston: should consider analyzing. the. effect
~, programs have had on parolee | behavior and should use
the: ‘knowledge it gains-from the analyses .to make future °
- ‘intermediate Sanction’ programs more ‘effective. The arialysis
should include the benefits of adding features t to make these:
, programs more: effective: a ‘ .

ws CHAPTER st SUMMARY se
- “ fter the signing’ of the fiscal y year. 2003-04 budget, the. mon
Division of Adult: Parole Operations (parole division) within, oo
Po .the California: Department of Corrections and Rehabilitation oo
ee, (department) planned to implement the intermediate sanction
a ‘programs by January’ 1, 2004. Although the parole division took.© «2.
"Steps to establish each ‘program In the months before January’ 2004, .
.- Uriforeseen obstacles, contracting problems; ‘and labor niegotlations
"caused delays In beginning the Substance Abuse Treatnient Control oa
Units (SATCU) and Electronic In-Home Detention (EID) j programs. - ott
- > As aresult, the SATCU program, was not. implemented until’ oe
oa May 2 2004, and the EID program: was delayed: ‘until ‘Novernber- 2004.
~ Fhe EID program ‘also was: plagued by equipment problems that, -
oe according to:a parole division ‘Téegional administrator, caused the’ °
Ce Program to. lose creatbillty with: the e departments: field parole agents. re

cae Although: the Halfway Back: program: did not: ciperience contracting: -
“l., . problems, it was delayed.untll February.2004 due to the need to”
- " feach an-agreement with the labor union regarding the Halfway —
"Back policy. The department also needed time to’ phase out. the 0
. inmate population. in the Halfway Back factlities and transition toa- |
oO parole: violator population: Because of the delays. in implementing“
these programs, as.we discussed in ‘Chapter 1,the departme;t did - mo
a nota achieve the cost Savings it’ had projected f for fiscal year 2 2003-04. me

° 2003-04 bisdget, “with a: ‘goal ‘of implementing't the progiams in’
January 2004; However; during’ the latter. half of 2003;: planning -
- t for the laiplementation. of the Intermediate sanction: programs’

ale State Auditor Report? 2005:1:

change in. department. re

contracting: freeze caused .
a.degree of uncertainty:
Oo: be. present. during:
he-planning activities
<-for the: intermediate. : -
janction Programs. Se

(a' particular; itioty after the adthinistration. changed 1th’
-the new. governor in: November 2003; the department: director
S resigned and the: parole: division’ s deputy, director was moved:
nto.the position of acting department director aitd Jater. acting :

Pe durie his five-month absence (hei returned in May 2004)..

oT . acting deputy director at the time stated that there initially |
le Was ‘uncertainty about whether the contracting { freeze applied...
-. to the department's éfforts to’ implement, the intermedlate-”
/ ‘sanction | programs. Although the parole’ division later: received °
: : exemptions | from both freezes, the hiring freeze contributed to"

fu ther: In the next t section.

oa According to the s parole c division’ s acting deputy director at

_the time, the. department ' was under | pressure t to. implement. the.
Moe Intermediate sanction programs "by January T; 2004; because,
the: fiscal year 2003-04 budget act eflected ‘the: department's |

- estitnate of the cost savings t the programs: would achieve, and ms mo

those. savifigs: would not be’ realized’ if the programs did not -

: _Starton ‘thme: Io addition, the department: was udder some legal -

: _ sppressure- to:get the: piograms undér. way, becausé the SATCU’.

Valdivia settlement agreement. These programs.were intended,
to reduce the: Board. of Parole. Heatings’: caseload and’ allow lt to

parole administrators. to a ee their. efforts, wa
contracts with county, jails for. the SATCU § ‘Program

: * chief deputy, The loss of the deputy. director: may: have disrupted Ba
2 the planning process because he had: ‘created. the programs and: * Cy dae
other. department stafé were. left to oversee their. Op CR

. : In \ addition, soon atier the administration 1 change the governor a.
Issued, in November. and: December 2003, two. executive orders:
. callirig for a hirlng and contracting | freeze. The parole division’ So

‘the delay-in implementing the SATCU Program. We discuss’ this. ae

and:E1D programs were included in-the remedial plan of the oy Ee

S conduct the temaining hearings within, the. shortened time limits. Pests

oo the parole division. pays. ‘The parole division, learned that others were not willing .

: UNANTICIPATED. CONTRACTING. DELAYS AND:
ADMINISTRATIVE OBSTACLES IMPEDED THE TIM ELY.
IMPLEMENTATION OF THE SATCU PROGRAM:

‘order. to implement ihe SATCU program, whieh: entalled :
30-day, In-custody’ education’ ‘component: folldwed' by. up.
to 90. days‘of aftercare, the parole division first needed to
tablish ¢ contracts with county jails, ‘which. proved to be mo re.
os sproblerfatic’ than ‘the parole. division. Ahad’ anticipated. ‘The parole:
+ :dlvision indicated. that Jt began to solicit county jails:as early.
Das September 2003. As Ihustrated in Figure 6 on-the. following
“page; the new administration ‘imposed. a contracting freéze in.
“ ..- late 2003, but the department learned from the Department of”
a General Services in’ “‘mid- December that Interagency. contracts, °
such as those with. county: Jails, were exempt from the! fieeze. ”

Pe However, according to the depaitment’ acting director at.
a the ttme, the parole division underestimated other obstacles _

. According tothe assoclated with being dependent o on the fails.for. the SATCU- :
“department's acting) - implementation. For example, he stated that some countles weer Ts
director at the time, . .. “not willing: to contract for. the $59 daily cate the parole division . Co

» ‘underestimated. other: ey de to contract because they: lacked. space, Int one instance; a ‘parole: .

eo: ‘obstacles associated. . ae “division mariager dnidicated: that a ‘county jall agreed to contract =
oe wth being dependent with the parole division, but never accepted SATCU parolees
. | om the jails.for the’. + beeauise of a delay tn hiring. staff and budgetary concerns. |
- SATEU iniplementation. This iidnager also stated. that some jails were too far away...”

TT * geographically | to ‘provide the maximum benefit to the’ ‘program,
7 a" .  whille others wanted’ to negotiate different terms. As'a‘result of |
- * ‘these obstacles, contiacts with county jails were not: in place . So.
“by the scheduled January:1, 2004, implementation date and, in .
oe fact, were approved. at varying: times: throughout. that year. As. co
>. “shown. In the text box on_page. 41, only two. jatl,contracts ‘had. Po
40S been: approved by March 2004; and. the department: had six. jal ay
Co reontiacts in place for the ie SATCU pro Tam by: November 2004.

" California State Auditor: Report 2005-111/°. 2°. =

~: California State Auditor Report:2005-111. °°!

NE Pot op oe papasu anova tps Soneynded sued put a ume hn wo tne
COD fase emp au Jp spenuOSojuLE “gpeques dusGween. -: ota

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uma © «Ue ‘PaueE weunedea— +002 | “ez Aenuel Lang oy saqquesag 2

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“ . 1002 An] uj weird pyre ath uo siossroap a “vo ana are f apes suoenotins Og7) as m0 4 ROINS: Pe fo =P oes ed e

2 weaBona nays oun Sunusuior di ao aloes! o

ao 7, See The parole’ division also feeded to.enter into.a |
“Locations and d Approval Dates” ae contract for, drug education: classes for: parolees: o
for SATCU Jall Contracts fe ‘duting their 30-day jail. stay. Like. the {ail contracts, Bovags
|g. this contract was exempt: from the: ‘restricti ni

_ imposed by. the’ contracting’ ‘freedé'becaiise th

“contractor was another: government. agency, :
the Contra Costa County Office of Education” ~~ eat
' (CCCOR). The Department of General: Services, pny ts
i ‘approved the contfact in Apel 2 2004. a

“2004 ”

s 2 baie Norte .Courity--March 8,
' a oh Ls Angeles ‘County—Miareh as, 2004”
Reem’ ‘Courity--April 29, 2004

moe santa Clara ‘County—May 7, 2008"

V'se Sin Francisco County—August 19, 2004:

i sin addition to establishing contracts for thes in ciistody. oo
: component, of the SATCU program, the parole . a
divislon needed: to éstablish providers for the’
. _ aftercare component. ‘According to‘the parole’
> diviston’ s'acting deputy director at the-tinie, the parole diviston’s
original intention was to obtain a competitively bid'contract -
- with’a new provider. for aftercare services. However, because - :
_ the. department was under pressure to implement the programs i
. quickly 3 and because: of the contracting freeze, the department
- Instead decided t6 ask Substance Abuse Coordination Agency
(substance abuse, agency) providers, with whom it had existing |
” conitracts, to provide aftercare services. These providers were : ne,
already, under contract with the. department's 's Office of Substance 2-0
Abuse: Programs (OSAP), to provide residential and onresigeatil 2 2
___‘substance.abuse services to inmates and parolees through: a,
a vatiety.< of department programs. oe

| Tulate County—November, 9, 2004-:

As noted in Figure 6,- according t to the substance abuse agency's Be
program manager at OSAP, the providers were ‘contacted and:
verbally authorized to provide aftercare for the SATCU prograin ”
_ in-January:2004, The substance abuse agency's providers
began. accepting parolees in May’ 2004, before the- contract ,
~ amendments were in place, but. the ‘department ¥ ‘was not able: -
_. £0 get the necessary: contract amendments. approved:until :
J! “May, 2005. becaise.It-had to prepare’ a written: justificatton- “of
-lts. decision norte: ‘seek competitive ‘bids. that then had to’go fo
: rough ¥ varlous layers 0 of ‘departmental a and. Department ¢ of...
General’ Services’. review: and approval.- Theret this delay did
: Not ; affect th iniplefnentation of th SATCL ,

"severa pother actions ) $0. ‘had: to occur’ ‘before ‘Barolées could:
enter ‘the SATCU: program. * Burst; ‘the parole division had. to isiuie
2s) a policy: describing how the: prograin was'to be uséd, parolee’ “i we

Ls, eligibility. criterla, and “specific job dutles for parole division’ staff... 2.08 5
| - Because the’ ‘SATCU. program. wouid add duties fot parole agents, 2. ‘

,: |, the patole'division could not develop the SATCU. policy without
we oe _mewotlaking these job duty: changes, with: the: parole agents’ labor. ve

Eater State Auditor r Report 2005- 11

Becau se the SATCU. he SATGU pri icy. me ]
program would add dutles _ subsequently: met with: the’ labor union that epiesenis parole agents”
for parole agents, the | ta ore union) | to discuss: the impact the new policy: would have q

 ylthioue negotlating these ge e
Job ditty chariges with the. - ~ nt toi :
we parole’ ager ints labor union. Mts’ ‘last, best, and final offer, The parole division vised the SATCU e J

. policy: memo on. n May? 2, 2004,

ents Devélopinent of: the policy also required thie paroia division | OE
to reach:an agreement. with OSAP, which was. resporisible for ” * me
eae oversight of the substance abuse agency's ¢ contract providers. As. es
- shown in Figure 6, OSAP.and parole division staff. mettodiscuss: =
_ the roles and responsibilities. for the ‘SATCU. program, aftercate in
: March 2004 and finalized an agreement 0 on n May: A, 2004. . et

wn Even after’ the SATCU U policy w was issued, it was not wat jay 2¢ 2004.”
~ . that all che regions'began to use the. SATCU program because, |
according to the'SATCU program manager, county jails and the
J: -CCCOE needed. to hire and.train:staff. In addition, the SATCU. .
: "J program. required ‘the department to hire ‘additional parole aseiiis oe,
_ ‘to:coordinate:and manage the delivery of SATCU services. However,’ ee
- “because the hiring freeze was in place through the end of fiscal
a ‘year 3 2003-04, the parole division could not hire’ parole agenis until
me * the Department of Finance’ approved j its request for. an exemption, *: .
"which the department requested in'November 2003. Subsequently,
the first ‘SATCU parole agent was hired in May 2004. County jails~
-. “néeded to hire staff-to guard ‘the parole violators during their .
os". 30day jail stay, and the CCCOE needed to hire staff and‘obtain:
>» - Security clearance for them to-enter the county jails. In addition,» ee
“:. | the parole diviston conducted regional roundtable discussions with: “0. es
a representatives ‘from the parole ‘division, the. county. Jalls, substarice
abuse agency. providers, ‘anid the CCCOE. tepresentatt for. each
Fegion, regarding. thei roles and id esponisibites.” Toe

Because of f contracting delays | ant equipment problems;
> program never fully materlalized before the department secretaty
“0 s .terminiated 1° By late ‘2603, the ‘department appeared tobe on’.
4: ack to "implement the. EID program as.planned. “Spectfically;..
1D sas shown: in Figure’7: ‘on. page 44; the. parole. division, drafted a
oe scope of work for electronic: monitoring: services io October. 2003, See
a, made the invitation fot bid (1B) avallable to 0 prospective bidders oe vo AS Be

on: ‘November 24; 2008, ‘and Gelected the lowest-bidding vendor ¥
‘on January | 12, 2004, pending. a demonstration, of the: vendor's
‘electronic monitoring. equipment: to ensue that’ it complied: with
all the requirements int the contract: scope. of work; ‘such as having”
a proximity. tampet—an. alarm that ‘would: triggerif the électioriie
‘monitoring unit were: taken: away from the body yet remained.” fhe
connected. The’ parole: diviston’s. demonstration { ermined. that ‘the: ,
vendor's: equipmerit did’ not have'a proximity, tamper. Suibsequénty, oe)
in late January’ 2004, the’ ‘department informed. the vendor that it : og
~ had falled the. equipment demonstration-and, because of that, was. ~~
+ "disqualified ‘fi fromthe conitract, The parole division’ ‘s ‘second cholee EE
, » Of vendot for this contract passed the equipment. demonstration, eS
-.- but the department later. received two protests to the contract . es
- award, Specifically, the vendor that ‘previously failed the: ‘equipment
“demonstration claimed that its. equipment did meet the contract > wl
ot etequirements. Another vendor also protested the ‘award, claiming.

~ that the second vendor.did not use the latest generation of
equipment, as ‘specified in the JEB, and that the bid was.not signed

“bya an, individual authorized to execute. contracts, ot

- Because of the time It would have taken t to defend the two. o protests
2 .’sintultaneously, the. parole division: ‘instead put. outa new IFBin © |
- . Apill. 2004 and selected’ anew ‘vendor, which passed the equipment an
- demonstration In. May’ 2004. However, the second: con tract: ‘award. a we
~ also was protested, causing ‘further delays. Specifically, another. . oe
. bidder. claimed that the selected vendor did not provide services
to thé minimum humber of law enforcement agencies: required. te
a by the [FB. In july 2004, the Departinent of General Services tuled 2
~~ ndtto ‘uphold the protest: As a result of these protests, asnotedin =
Figure 7 on the following page, the EID contract was not finalized
~ until August 2004, anid because additional delays occurred after: a
_ + that, the EID program ‘was snot avallable for u use é until much ater in oe
: the year ‘than Planned... aS oi me os

Besides the delays’ in contracting process;. the EID. program ¥ ‘Was: Loe
not immediately: implemented: due to administrative issues, such ion
/ “as the need tod velop the Program! s policy, negotiate workload . -

. “pie place. between: March. and May 2 2004, ‘at: wi which time they |
“reached aly Impasse. ‘AS we mentioned earlier, this a allowed the: os ue .

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eB vorrue MERE E007 ‘chy

vO era iets Dra lstaleriUaR ita Pertti or te

ce “play ain ul sabe ajoued woy sumo HOOE INEW u BOVS ED P.-
yt a a | _amets Ete on oo 1 iiniedo in fa popondde 5 Dese9 09 oe

a $002 REV UL 6EL |” , :
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ait MOn eS 1-n)

Sao ie

a Se a! 2 ome oig nau Ei i ' ‘ oo j
fife ge 8 Ee es 2 anak an pioigin sep PEA MOT WO Oe
ere dp a § di teu spp sues este po winunetoa “vOOT Ant. . t
Deo ee) an parseadid Aguinbasqns 1 poeme pag pasodond ayy - "p07 Amey sopmeme =
Do a -. . R 0G2 Unf uy preme 0} ruaqu Jo ay Spins LORIE . pasodond suf) o1 sasaiond an sparsoal 4
“= Bpomeg ‘AEH ta UonerSuducp dnpeld sessed Jopprg raMo7 . (MOFRIp ajored at nq ‘Vonmnsvowsp.”

302.9 Ho vo meio ape ie pen oman erpoet ag sed Sere LM PS

| WeiBoig ag.ath yo woneiucutosdua poforod yey ser.

LASNO
a “olfen However the Departinent of Industrial: | Relations, which ho aor
wo mediated. the Impasse, did: rat officially declare that no: agreement we
oe pout t be reached. between the patties until tl July: 24, 2004.

: “After: the: ‘approval « of iné EID ‘con tract In: a August: 2004 and» .
os ‘through: ‘November 2004, ‘the. parole c division, and. the. contracto
+ wotked: together. totraln a’certain number ‘of parole.agents. *
“from parole. ‘units’ located throughout. the. State in the.use of:
_: the BID. equipment, with the: expectation that: ‘they. would train”.
: shethe’ remaining patole agents: ‘in their units; All tralning was: *
“eM pleted by: November 15, 2004, and the parole: division. issued
oe the EID: policy on ‘Novernber. 29, 2004. . mo, Oo,

COR eS SC atthough. the policy w was issued.o ‘on 1 November 29, 2004, ‘the. .
— -. contractor's status reports show that as of January 28, 2005, only”.

- One of the parole . 134 of the 1,000 electronic monitoring units that were distributed to
| diviston’s regional parole | Units statewide were in use. By April’ 8, 2005, tiiree days before | ”
a administrators stated “the agency secretary terminated the EID program, ‘only. 137 units:
ole | ts) that the EID program ~~. were in use. One of the parole diviston’s regional. administrators,
ooo 3 losticredibltity with _ stated that the EID program Jost credibility with parole agents because. .
© the parole agents who. | they found, the equipment hard t to use and n not always accurate, So

- |. -were supposed touselt Shes

"because they. found the © The’ parolé division, fist attemptei to. o tesolve the equlprieat -

. equipment hard to’ use. ve problems with thie contractor: In.Jate’ December 2004, when *

7 and. Hot always accurate, ”vonly three electronic monitoring units:had been-activated.To <7 +.
oe _ resolve installation difficulties, the cohtractor agreed to provide
_ installation Instructlons Inthe form, of a sticker that'could .
__-: be attached to the electronic monitoring: ‘equipment, and to
"develop tips to help: the Participants | tn the program prevent.
. false alarm signals, Even with these improvements, the parole, ~ ma,
__ diytsion. continued to recelve the same and.other complaints: fom 7
“> “parle agents. ‘AS a result, in February 20085, the parole:division "| -
oo conducted its: own test'of, the equipment. and. found that the: ~ on oS
alarm’ signals: were unreliable. The’ ‘equipment problems z and the .
subsequent perception ‘that had ‘developed among. ‘parole agents.
we ‘that the equipment. was ‘unreliable, ‘as well as other concerns, led”
: ° the -depattment to formally. tet inate the contract in‘May.
“by which dime the EID program. already was terminated,

THE HALFWAY BACK. PROGRAM WAS iMPLEMENTED:
RELATIVELY. SMOOTHLY, BUT DID: NOT REACH, .
“OCCUPANCY GOALS, :

The: department was on “track, to. itaplenient the Halfway Back
ao program by January 2004, but due. to the need: to finalize - a
negotiations: with; th labor. ion, implementation iaciaiee ”

“scope section of this Sreport.

- Respect a submitted,

Yj just one ‘month later,

: substance. abuse: ‘treatment, ‘and stress control training to. ~.
inmates. nearing’ parole. in‘a residential: setting outside 0 pris on.
“The parole. division: planned’ to: ‘transition the Inmates’ out ‘of: the
teentry centers and | gradually. replace:th them with r paroles, from.
the Haltway. Back Program. a

that provided services such as job search: skills and placement,

in late2003;. ‘the ‘parole division 1 developed the. Hattway. Back i poiey,’ oo ee
"”” which described eligibility criteria and the roles and responsibilities | 2°
Of paiole division: staff. The:parole division Initlated discussions .
-, onthe Halfway Back policy with the parole agents’ labor union: .
. » in December-2003. Unlike the anion negotiations for the SATCU. ~
| ‘and EID programs; the negotiattons between the parole division
-and the labor unlon were successful; producing. an agreeménton = - »
“. the Halfway Back policy. However, the agreement was not finalized «
. until January. 30, 2004, and the:policy-was issued: February. 6; 2004... 8 ns
. Despite the relatively smooth Implementation of the. Halfway Back |<. ae
program, as we discussed In Chapter 1, the program ¢ did’ hots serve oe
oe as many Parolees a5 was originally estimated. Lo LFS

: “We conducted this review under the authority vested in the California State ‘Auditor ‘by me
- Section 8543 et seq. ‘of the: ‘California: Government Code: and according: to generally accepted:
goverriment atiditing: standards. We Lmited our review | to those aréas as specified In, the audit.”

la State Auditor Report 2005-111

The patole division decided t tox use existing es,
: -: contracts forthe: Halfway] Back program. "These. contracts were -
with: Community: Cortectional Re-Entry Centers (reentry. centérs),

a = GEA. ‘Alternatives toF Prison
~ That Are:Similar. to California’ ‘s, but:

- 3 Have Little le Meaning :

"Fre were e asked £6 took at whether other states u use
- Intermediate sanctlons as- an alternative to ‘parole

"revocation and feturn to prison when responding to: ve a

pardle violations. As part of our audit, We selected six states clted

in the Little Hoover Commission's 2003. report on California's”
_-parole policiés—Back to the Community: Safe & Sound Parole

. Polictes—as having developed alternatives to prison (Florida, -

Oe Maryland, Michigan, ‘Washington, Wisconsin, and Vermont)

my “. °°. “and ¢wo additional states with large poptilations (New York ~
I cand Texas). For'each state, we focused on its polictes rearing
fo, a Co parole @ violations and the various programs and-sanctions
SES ee available to respond 6 those violations: Using: publicly available.
oe mo he ~..°, ” information and Interviews with, these. states” correctional staff;

- we ‘assessed ‘whether each state had programs ‘Specifically for a

_ parolees who commit technical violations of their parole that .
- are. used. as an alternative. to parole revocation and subsequent

"return to prison. ‘Based on our assessment, four of the stateswe =: w

: reviewed curently have'stich a program for ‘parole violators; °
" Vermont, Washington, and Wisconsin do not.” In-addition, *
“we ‘found that none. of the states that have. these programs

‘surnmiarize e the states’ programs ‘a Table AL on ‘page 49."

oe Ste addition: “we. vequestéd information from these aight: states
“s fegarding. their’ recidivism rate; which is:the rate. at which ©.
oS released i i aes eae ‘another ‘Offense within a given, tlme

. formally evaluate’ or study them to-determine effectiveness, We "0°. 2!

ees Sooo the factors used te to calculate reeldivismn Fates « can oT ge Ls

a 7 For’ one state, Florida, we could'not déterming whether it had programs ie uses.as S ta.

: alternatives to ie and: returrt to- ron pacaase lt tt: did’ nat respond to’ our. ea

a. restrictive’ ‘sanctions are focused: ‘on. dealing with parolees Lo

_ Outpatlent treatment nt program.

we vary. frorn state'ti to’ state, ‘making. méeaningtul compacisons among.
States: ‘dtfficult. ‘We’ display. the factors ‘used’ by! Califorale and, the +
“other states. we reviewed in ao

DIFFERENT STATES’ INTERMEDIATE: SANCTION.
~- PROGRAMS t HAVE: SIMILAR CHARACTERISTICS.

o For the states we reviewed, inc ding Callfofnia, th

~ who: have violations associated with. substance abuse: Those.
“states: swith specific. sanctions for substance abuse—California, ~
a Maryland, New. York, and: Texas—sequire participants. to spend
“thee in a jail or secured factlity for a-set period, during which. .
they must participate In substance abuse programs. California’s $:.

- “Substance Abuse Treatment Control Units (SATCU) program’
a Fequired. the shortest amount Of time In Jall, 30 days;. - Maryland

“ and:Texas have the longest, with stays of six moniths. These -

- i 2 States also have.an aftercare treatrient ; program, but only :
"Texas requires. that’ the first‘part of its aftercare program be- in

a. residentlal facility, after- which patticipants continue. in an ,

None at the states we -tevlewed! ‘had halfway house programs ei

a slimilat to California’s, but.a few. ‘States—Michigan, New York,

and ‘Texas—have other resideritial programs for parole violators.
_-? Bach program: houses parole’ violators in a Secured facllity
oe “and provides them sérvices ‘during thelr stay, Texas and.
ooo: Washington have halfway house/work release programs for:

. : parolees, including, parole violators, but they are not regarded. .
1 BS: intermediate: sanctions because they a are. not used in lieu of a
_Feturn te to prison. . wy wo

Two states—-Matylarid aid Michigan--have et électronté moriltoring 2
programs similar: to. the © program California: Uses; In: ‘these: ‘two -

a eee lt fas 2 an ‘electronic mioriltoring program, but. it aid: Bs as o
__fespond to our inquiries regarding how the J rogram was used, “

_ -aconuactor monitoring service when the parolee wearing tha'davica was nat within.
a definad distance from have. Sanive were allowed.to' eave home-ag set. Wimes for.

we “Others could. be daaived.
‘24-hours- -aday unt thelr revocation heating. wee .. .

ve Acloaely sopariised: residential program providing treairngnta and achiaticn prcigrams’:
-, thattocused on employment, needs, substence abuse, stress mandgement, victim ~
awareness; computer-rupported literacy, and life skills, Parole violators had ltmiied ability.
* dorfeve the facillty and, IFemployed ouing thelr stay, ware ered to pay a5 Pore

eg, “ «of thel: salary tothe program. -" ot
~- Substarice Abuse ev, » 30-dajy locksiown, inapill getting for drug’ umatinent education ates ielense trom No

coe ‘Coratol Units (SATCU) “ "2 lockdown, a mandatory 90-day alleréare program, which could be in a residential oy -¢
‘ oo program or onan outpatient basis, was provided In the: community.” oa me

“. Thexe poogranis were terminated 04 Apt 11, 2608. Subsequently, ihé department Issued ew guidelines for the Halhway :
. _ Back program, now cate foro Sivice Centers which are open to eigibe paroles Tite SATCU and EID programs ware
_fadelgned Sad the deparitent hopes #8 ienplament the maw programms by the end af Navisnber 2005. ° Mod

*, Wheensin sigpendied its Alternative Sanctions program for parot wolators it 2001, ‘Currently, it does not have any.
plotaeors that cart et ne ined as s atternatiies te arate. revocation, sine raturq to prison, an

intended for “poriviolent,: ‘substance’ abusing parole-violtora, this six-month progiam es
15 Iva fall setting with a’ mandatory Intensive outpatient. aftercare‘pragram for three « ” .
_ te months. Successful completion allows parole vidlatar to retum to parole; unsuccessful. .
_ completion usumtly mepné a ketum to palsan A Parola wlofator may | be placed In this -"

. _-Program multiple tinpes during the parole, edad. .

i Substance Abuse :
. Treatment Program =...

‘+ Beetrorile Monitoring =. ‘Used for paraks violators’ ‘wha have not been convicted oa a violent crime, the. ee Te Ne? "
- toh oN ‘Monitoring period 1s up to three ‘months a3 determined by parole agent. This saretion , :
_ tan be renewed, but If a violation ceéurs: ‘during the manltored Period, the parole ..
violator may be returned ta prison eee

Tachtdeal ula Violatia re ity, p pan

é conipleting thelr education ‘end parfoem jcios in tha facility’ ‘or aspart ‘of. pisbiic ek:

_ éfewe; Substance abuse treaument is mandatory | ‘for all | Parciciparts, “Upon successful: .

- Completion’ of the TRY progtam, partélpants ané'retumed to pardle supendsion. Parole”: ve
“teamed who refuse to participate ov or dé nat eceiany Complete the re proanr ae)

ne “menitering.” ‘Howaver,, Fovida ‘did: not responut to aur recquests’ tor ‘aa information:
. : Therefore, we could not determine It tt is used asan alternative: to parole revocation and"

con vad in ier pone

Unsuccesstul In cheresidenual pragram ard usually retumed to prison; graduates who

"alate tha conditions of parole recive Safctionsiconsistént with thelr violation. The. -

. Brogra can be epactc ore tan ance cig parce red. When the dora i ‘e
, kal

Lo a impact inearceratlon, ie ‘ba ‘ abise treatment progam primary foi techincal pide

~ Program Cane) ~~ S1+) Wolaters with ne. récord of Wolént ctimag or sex offenses, Operated by local jalls‘uider.
em, bo. * % ~. goritrarct with the’ state, perticipants are-confined in_a local jail setting for 30-60 days |

| and receive vocational and-dducatianal tralning, substance abuse counseling; and'are’:

oe Oo “~ reGuired to perforrn commurilty Service. A required oufpatient aflercare program provides”

‘counseling support and Job placement, Pats vialetors who succasifully complete the

. evocation hearing. ‘parcle violator cait be placed Inv the program incre than once. -

Intermediate Sanction , Technical parole. viotators are detalned In focal or private Jeuls For 60 says and not’

° on Factiles: eo, ln longer than 180 days, and receive sack. Services ag educallon, cognitive restructuring
. Lot 7 skits, fe: shi tralning, and community service rastitution. Anny offender with technical ”

> vigtatana fs eligible for placemarit into the Intermediate sanction facilldes program.
- Violators who succesfully complete thelr time In the Facility are released backto —
“parole supervision; violators who ara ‘unsuccessful sual have thelr Parale revoked
"sand are feturned 16 prisorn. : . ,

“Siupatane Abuse Felony a ‘Intensive. substance abuse treatment program tor para violators other than those oS

. ?Punishrnent Faclity . "with convictions for sekual offenses, who have'a history of substance abuse, Eligible
. Cio violaLors first. go through the parote pré- sravocation process but are diverted into the

program, which is carted ‘out over an average shx-mionth stay iva secure: “Faellity’ tua by

._ a private vendor. Actual thine spent In this inidal | phase of the Program and subsequent

~ phases Is based on offencter progres’ and needs, Violators whe successfully camplere the So

. , _{ bnltial-program are released to a residential aftercare program for three months belore ,
ote ") peturning te parole and beginning an aftercare progcam for an additional 12 months an.

~ 7. ah oulpadent basis. Violators who are unsuccesshud Inthe initial program camplate the *
. evocation process and retum ta prison, Violators who are unsuccesstul in the aftercare“ - cot
. “Semmenant af th program may rgceive didRonal \eeaurent or ety to,prson. based et

Currently, Vermont one prograni eal proe vate hat aeregrdéd x aernates to pare eocation
“and return tp prison, Howaver, “as of judy 2008, tt has plein. asl to provide electcanke manftoring tn a plat progr that”
includes nanviojent offenders tho mitght otherwite he tacorcera tad for violating theconditions of thelr parole

’ program: arg released back to pamle; tinsuccessful parole violators are held lor 4 parcle , .

ah, uo

Fa: parole j program, a comparison ¢ of the recidivism rates thi
_various states report must be viewed with’ ‘caution, ‘Broadly defined, .
-iéeldivism is a return to'criminal activity. or violation Of | ‘pa
terms after’ previous « criminal: involvement. The: Tectdivism Tate ls °
one of: the ‘useful: measures state ‘correctional departments employ. :
“to determing how well programs ‘are working to. ‘keep offenders - WEE
"from returning to prison, because it tells how soon after his or. her woe

_ release. from Prison the released ininate commtts another offense. a

What a a state chooses to measure. with its recidivism rate wil
"influence the: factors a state tricludes In its rate. For. example, if! |
a State Chooses to-use its recidivism tate to measure an offender -
program’ success In terms of ‘saving. money by reducing prison :
- costs, It: might use only those factors that include areturn'to -
prison. Our review of the reported recidivism: rates. for Callfornla —
“and seven, other states @lorida, Maryland, Michigan, ‘New York,
Texas, ‘Vermont, and Washington). found some variation inthe. = fot
‘definition. of the recidivism rate. §. os me ie se

The calculation of. recidivism r rates typically uses one or. more -
_ factors, including: wot.

. ‘Released somate/parolee with a new atrest, .
. Released Inmate/parolee with a new conviction.
“e Released inmate/parolee¢ committed to prison for anew w offense ats

. “Released innnate/parolee x return to oi iol fo parole violati :

: a Wisconsin, the otter state we veviewed,, does ‘not calculate t its reeivim rate, according: ,
OTs: ‘correctional staff... :

California State Auditor Report 2005-111.

“states: including California,. parole. revocations can’ ‘indicate that:
new ciime'or criminal’ ‘activity, ‘occurred, but’ ‘they: also, can
: “indicate thata technical violation of the parole | process eccurréd:

“California defines. recidivism | as a return. to prison. by.a. parolee:
Stor any reason:: We present Caltfornia’s: ‘three: “year reported::

S _ _seeldivism rate, as ‘well ; as: the’ ‘reported recldivisin rates. ‘of the | ote

‘vseven: other states we. reviewed: and how those: rates are defined, oe
in Table A.2. eo

‘To calculate Its: recidivism rate; a state tracks é a ‘group of
. individuals released from prison during a ‘speclfic perlod: over | oe
. a pertod of time. The number.of those Individuals whio meet.

: "divided by the tota! number lri'the ‘group released originally, 45:
- the recidivism rate: In calculating its recidivism ate; Callfornia
- determities the number of: individuals who have been yeturned |

“to prison. In-California; a parolee, can -be returned to prison,’ and

_is considered a recidivist,:for any. of. four. reasons: (1): placbment, : oo

. in a.substance abuse treatment ‘control unit? in a correctional

..the state's. definition: ofa tecidivist within that period: of. time, . a e oy

- facility. as a result of parole violation(s) related to substarice abuse; a os oe

» (2) to serve: ‘court-ordered, time for 2 new felony conviction; 8).
* to await. a revocation hearing. by. the Board of Parole Hearings: on:
-ighatges of violating the rules or conditions of parole; or'(4) to-*
‘serve revocation time: for parole violations, including technical
violations of the parole: ‘process, such as fallure to inform the -
| “Parole agent of a change of. residence or employment, as well.
as violations. involving. criminal. activity; : ‘such as drug! use or.
oo * possession. _ Most California offenders. are ‘subject to. three years...
_- Sf parole supervisic om‘after rélease: frorn’ prison; s sO California
‘Uses a three-year post prison A followsep pettod and Caiculates a:

: : ‘3 Thesé substance abuse ‘teoatmant controt units referred to here a related to a Sarcu.
ide attercare and is ‘not used in leu ‘of Prion. 2

<chicinle Gea Radar rt 2005-1196 0!

D1 lamas sischargedt rape

"LAT tamates released to supervision "| ‘Released: 2007 So sleturn to pason (new Sentence)
ae . Inmates alscherged oe Trarked: Three years “Oy Retutn to prison (parolé violation

me Se oO Retuin te prtson pending hearing
Oo Reconvictlor

. ‘lamates released to movida
A inmates ascharged

et Return, to prison: (new séntenie) :
oe ei. Retina 10 prison: (parcle ‘olation) ©
a - O: Retires ta jitison pending hearing,
a Reconviction cae

i ‘artates released to supervision .
. a Inmates cictarged .

. s § Veron uses a recta ate that accounts ts for wonaoncan epee whether or rot: the conviction ientied 4 the soe beng rewuimes we
wy prisan. : . . oe .

tn contra’ Florida's recidivism » calculation does not.c ‘count

in: isolation, we, would expect Flotida’s reported. recidivisin .
oe ate to: be. lower than: ‘California’ sy because California’ 8 rate:
“ol ywould inctude : a count of: ‘offenders returned. to. prison: for.”
mien parole violations ‘and: feturned: ‘pending a revocation’ ‘date. This

:~ ~ ‘difference in. the types.of. offenders: inchidéd ini the, calculatton
vo points | aut oné of the many possible. factors that make j a:
ee meaningtul comparison neatly. Impossible. ° :

oy “Another important fictor. that makes It ‘iffieult to. ‘compare vf
wo * géeldivism: ‘rates among states is’ the length of the period ttacked,..°
“ typically the: Jenigth of:the parole supervision period. The typical ° oo
"parole period in California is three. yéars; most offenders released ©: :
“to parole-are required to adhere to parole. rules and conditions for . - woe
'- three years before they.can be discharged from parole supervision. CO
: Another state may. have a’shorter supervision period, meaning. coe
_, that, the group belng tracked for recidivism ‘calculation purposes a LR
“Is required: to follow the rules Imposed under supervision fora
shorter period. We belleve it is ceasonable to assume that this - -
oe factor in isolation could cause the. recldivism rate to ‘be lower In.
. _stales with shorter supervision periods. . So as

oo Finally, the choice of which. of the’ offenders released to ‘parole -
~ .“ should’be included’ in the calculation can resuit in differences fe
adm recidivism rates. For example, Florida’s reimprisonment —
recidivism rate counts only offendess reléased to parole from. -
oS their original prison term; it does not count an offender who.
_wasin prison for a parole violation; released back to ‘parole, . oo,
and subsequently- relmprisoned. Californta counts all offenders - .
a released to. parole. oy oe oS en

in initermediate Sanction Programs
and Their Returns:to Custody Since.
‘Entering Those Programs:

os ‘part of: this audit, we ‘were! asked to determine the:

‘sanction f programs: ‘and to determine: how many were |
returned to ‘prison after entering © one of these Programs.

| current status of parole violators. placed in. iene fe ant

Richy ‘progiam: began during 2004. At thé time of c our “review, ee

QL ae ee a ” programs lasted fot up to’ 120 days, ‘we decided to track ‘all
Re * participazits enterlig, after eacti progtam’ s opening through’ ”
~ December 31, 2004. For each program, contracted service
oe providers: collected information. for'the Department’ of~:
Gortéctions: and Rehabilitation: ((departinent): on which’ parole ©
violators participated. ‘We then tracked each’ parole violator’s -

the Halfway Back, Substance Abuse. Treatment Control. Units -

the latest available data. were as of May 31, 20085. Because: the: ae De

*- status in’ the department's database: We-present information for oe

* SATCU), and Enhanced Substance Abuse: ‘Treatment Control. Lo oa a hn
, Untt. (ESATCU) programs. The Electronic in- Home Detention. oo wen
«rogiaen was never {onplemented fully, so we did not iriclude It heres. Tt

an each of the following figures,
: violators. placed, inthe’ program: ‘and, ‘of those, the: number ..
‘who « com ipleted the program and the: ‘number who. did not by: a
March:31 ‘2005, the last month oF data’ before. the. intermediate.
Sanction’ programs } were ‘Suspended. ‘For ‘the SATCU ‘program, ¥ we

we Show the Aumber: of parole - oe wo

alifornia State ‘Auditor Report 2005-111:

on * _Statis-as of May 31,2005 ue

in par 5.1
5 but bacauise there |s.a lag’ ia recording parole Tefnstataments; OBIS did not reffect.the change: ‘ony
cnwveisely;: the numbar of:On, parole: ‘is ‘overstated ‘bythe: numberof. parolees’ who ‘absconded, fray r F
May-33;°2005, but Because of a tag In.secording parole suspensions, OBIS did:not reflect the change May a1
esult of tha dag inv recording, the: ‘Humber of Absconded from parole is‘oyarstated by: then
as restored on‘ or batore May 31,.2005, and undérstated by the number of parotecs iwh }
“We did not attempt to determirie the net: effect, ifany,’ ‘of the understaternant: and: ovarstatemel 1
. the figures may change, Itis: unlikely that the 9, weittd signlcantiy atfect the Petrentages shown

ecember 2004

Did ‘not compiete jal campon :
as of March 3 iI, 2005 | 106 “ fe fewes

” - Qutconta ad of May 31, 2005, oo " 2:108 parolees, oe
. 1,380 Parolees Who Entered Aftercare | _ Utd Not Cernptans SATCU:

- 3ttIn programy

en. 40.03%) //

aoe,

. Ts ~ “Unknown (ncomplete oe
~ Deceased'7 (0%).  . (hformation given) 3 (095) ©

7 “abacanded f trom
. 14 (399) *

ta a tag in fecordng parce, reinstataments, OBIS ‘did fot refiect the change: on hay, 31; 2005.' comesely, the. ramber of ‘on Shara is overstated by the
a, number of parolees who abscorided fom parole Gn.or betore May 31, 2005, “put beeauie of the lag In reancdllng parole wispensions, O85 did aot reflect.
77," the change.on May 31, "2005, Also, a¥2'result of a lag én eecordlng, the number of Abscondad trom parole Is overstated by tho rwinber of paroles.
or "whose parole status was restored an or before May 31, 2005, and understated by tha qumber of parotess who absconded on or before May 31, 3005. 'We

: “did not arterpt to detentiine the ne elect any, of the understatement and oversitement: While the mimibers shown in the ures may change, Ikis:, ~ .

gram
~ aso May 20, 2005
ms 55.148): ae

. Didi not It amplte

; + Status as of May'31, 2005.

-. Deveated
, Discharged |
vs 0) fr

 Absconded™

“fromm parte ; =
7424496) © fi 2

. i Sources: Bureau, of State Audits" analy. of. program provider data collected by the: Calor Deparment oi Comrectonsa and «
: “Rehabilitation a and data from its Offendér-Based Information System {O8I5).. : : ‘

. Note: The number ‘oF Gn parole is liriderstated™ by the number of pardlées ‘whose patole st status was restored oh or pélore

"+ Conversely, ‘the’ number af On. parole |p overstated by. the number of parotaes who absconded. from parole.on ar before...

May 31, 2005,. but because there ig a lag in recording parole. rainstatements, OBIS did oot reflect tha change on: ‘May 31, 2005...

"-May'31; 2005,. but because of a lag in recording parole suspensions, OBIS didnot reflect the change on May 31,.2005. Also; as a

: “result of the lag Inv recording, the nuriiber of Absconded from parole is ‘cverstated by the. nurnber: of parolees whose pardlestatus.

_-Was réstored on:ar before May 37; 2005, and understatad by ‘thé number of parolees wha rabsconded 4 or-or.béfore May'31, 2005
Wa did Frat attempt to determing: the: net effect, it any, of the: understatement and overstatement, Whilte the, jmummbers shown Ih:
a figh : :

Agency's comments provided.as text only.

“Department of Corrections and.Rehabilitation: =.

-“Ootober 19,2005.

Ton Elaine M. Howe :.
-: State Auditor: =
Bureau of State Audits.
“856 Capital Mall, Suite 300 -
Sacramento, CA95814 -

~ ‘Subject: RESPONSETO DRAFT REPORT —

The California Department of Corrections: and Rahabilitation (COGR) has reviewed your oo
—:) draft audit report entitled “California Department. of Corrections. and ‘Aehabilitation: The. ‘ o i
Oo intermediate: Sanction Programs Lacked Performance Benchmarks and Were: Plagued ”
o With: Implémentation Problems.” oe --

gee ee rc eee ge ee ems ema ee Sm eat ca ten rane |

o : The oper’ concurs. with the reports recommendations

Oy we appreciate thea aitention to. accuitacy and detail that your staif put into the p process...
Your staff ‘has. been professional and.at all tires available to discuss the i issues. Please:
. extend ou appreciation tc fo those whig participated i in this review. - oe Me

_ “Attachment!

California State Auditor Report'2005-111-

_ RESPONSE TO BUREAU OF STATE AUDITS (BSA) DRAFT REPORT.

a BSA’ ‘Recommendation HM: When plarining future: intermediate sanction prcgrams,
division should decida.on appropriate benchmarks: for ‘monitoring program performance,
|. data-it will: need: io measure performance. against. those: ‘benchmarks and: ensure that data’ collection
ow ‘mechanisms’ that: allow data to be.collected iin a format: that is ‘readily. compiled ate. ‘in place. before
Oo a program: [s- Jmplerénted. “Aftar implementing anew intermediate sanction: programm: the: Parole
- “division. should’ analyze the data it has. collected and :if.rélevant, Lise. the, data'ln’ its existing’ data”

- bases to. monitor and evaluate the ‘program's effectiveness on. an on going basis. eee +

. cocr's Response: ‘By: definition the oper does not: currentiy have Intermediate ganction.
7 programs.. ‘Nor. does the CDCR have any foraseeable ‘plans. ta reinstitute ; any Intermediate * :
'_ -ganetion programs. The Division: of Adult Parole Operations (DAPO) has designed the new In :
on Custody Drug Treatment Program and.the Electronic in-Home Detention Program to comport ‘
7 with evidence. based resaarch to. reduce recidivism. DAPO fs. currently training parole staff: :
oo and plang to Implement the use of the: new w programs upon completion of the training.

. The DAPO: ‘agrees with this recdiimerastion, ‘and wit proceed with ts implementation. Ite .
isa basic practice of good program ‘management to dacide on appropriate performance oO
- “ penchmarks and identify, collet, and analyze the data necessary to ineasure. performance
Co against. those benchmarks.. The DAPO already utilizes this’ practical ta-a great: extent in its
es Programs, and will undertake to. ensure that: it does s 50. in. every applicable instance.

: Som ‘of the division’ s ‘aidsting d databases are somewhat limited in their ability ¢ to provide.
and compile relevant information, but to the extent that they have information whieh can be.
. useful in analyzing | program effectiveness, the DA PO doés use. them for. that it purpose, and

- will continue to do9 50 In. a more 3 systematic manner, ,

e 60 day. status’ report’ due December3: i, 2006. The pAPO vallt céardinate its attorts to begin. Soe
”., Identitying pertormance bénchmarks gses fo, collect: data to measure © performance 4
against these-b nchmarks. .

? er 31, 2008. The DAPO will begin reviewing ata vollecied
raptors program effectiveness. 7 The ‘DAPO: wilt work. tits the confines 0 of, the: :

slant are based on: ‘Teasonable ‘aesurript
umptions change, should Bromplty update: the: savings Sptimates. "

- fe CoCR’s Résponise: The Division of. Adult Operations. (DAPO): concurs with this recommendation.

2 ‘tt should be noted that DAPO did use reasonable assumptions ‘during the} program plannitig.

me process: ‘and: adjustments’ ware nade to estimated savings projections during | the budget cee
oS development {first opportunity) process. in the future, DAPO-will ensure that any discussion with |.

wo sanate budget commitiee staff or researchers Inctudes reasonable projections or estimatas, to ” oo . a

ry Is inokute updating ¢ or reassessing projected savings Ini a timely manner.

‘s This should further ensire that redsonable program \ planning assumption wilt continiie and JOR

ay changes to those assumptions that impact savings @ estimates wi be 2 promp tly updated :

L lt a and included in- the fext budget development process.

ore. BSA: Recommendation #3: The parole division ‘should consider ‘analyzirig the ofiect programs

. adalng features bo make these programs r more effective.

os Rasponetoe pars tor implementation: pap Director

. have had'on: parolee. behavior and: should use. ‘the knowledge. it. gains‘ from the analysas: to. make «. .
“future. intermediate ‘sanction programs More afféctive.. The analysis should i clude the benefits of

oe coGR’s Response: 1 The 9 Division ar Adult ‘Operations (APO) aghoos i with ‘this recommenciation ie
Ie from. the: BSA. However; It must, be pointed that ‘analyzing | the effects, that ‘programs have had.
that: :

60 day at status report. Sg 5, , 2005. The DAPO: wit coordinate ita efforts to 3 bagin’ .
Identifying 'performarice benchmarks and processes. to, Conect ‘data to ‘measure performance, .
oe against, those benchmarks. ™ an ~

@ month status feport c due “Aprit 30, 2006: The DAPO will bo able to define thie benchmark and po
“ wt explore | a system of. gottecting data to 0 varity, program success. woe

: 1 year: status report dua October 31, 2006. The DAPO wilt begin reviewing d date ta collected .

ito determina program. effectiveness: The. DAPO will work within the confines of the’.

: a department’ 's ability to utilize existing databases or modifying a data collection m practices t fo.

mee - eapture the information needed toi measure success. -

Rebpeiisibe person tor implementation Dao Director . Ae -

| California State’ Acditor Report 2005-111

~- Senate Office of. Reseaich®
ee ‘California Research. Bureau‘
- CapltolF Press

Case :2:90-cy-00520-KJM-SCR — Document 2242-2 Filed 05/24/07, Page 800f83' ~

 EXHIBITH: |

on This 'stary, is taken from Crime at sacbee. com. a

a - Parole overhaul s scrapped —

 Mictims' groups say the system is woefully tiawed. -

: oo The’ ‘administration’ came under. fire © Monday from groups that said he ternative ‘sanctions: oe
“had been. bungled: from the. start. : ote .

oS : They’ ‘said drug’ treatment and’ “halfway back"! ‘beds. were. never fully flinded: that the..
“ electronié monitoring.program was delayed by contract: disagreements. ‘and: that’ all three:
ee programs served a woefully. inadequate number of offenders: to ‘be truly effective. -

: eae ein as -

oe By ‘Andy’ Furillo ~~ Bea. Capltol Bureau . ey
Published 2: 15 am. PDT Tuesda Yr Aprit 12, 2005

The Schwarzenegger administration junked the. core. ‘of. its parole overhaul plan Monday,
-.. discarding électronic monitoring and halfway houses as untested and possibly dangerous
. alternatives to retncarceration... De,

Youth’ and. Adult Correctional: Secretary Rod. Hickman ‘issued. a memo ‘to: the state's

3,000-plus parole employees announcing:the termination of the néw parole model, saying ~ -

that éffective immediately, the Department of Corrections" yearlong emphasis. on the
alternative parole sanctions.- community-based drug treatment, as well as’ “electronic. o

monitoring and “halfway back" programs - “will no longer be used,”

. _ “At this. time, we have no eviderice that these three | programs, as 8 originally designed and
»Amplemented, increase public safety," Hickman’ S: memo: said, mo Lon,

Q Until: corrections officials obtain proof, that the programs work: ‘intermediate sanctions in;
2, lieu: of parole revocation will not be’ a measure used iby this agency," i Hickman said in- his .
“memo. . . ol,

. The renewed. emphasis on’ relacarceration. for parolees, appears to represent an implicit
oO, acknowledgment: thatthe system that has-been in place for. more. than a year posed a:-
ve threat to public safety 4s its critics in the state’ s ranks. of parole agents, had charged,

oo ur don! It. know that’ it was and I don’t know that it wasn tj" Hickman said | iri an interview .

oe ‘Monday. "We just want to. make sure-that any program we. roll-out increases public safaty.

_--. That's the intent of everything we're doing in pane And if I have a Program that's ot *
increasing Public safety .. - we've’ ‘got to revisit it. ms ul wee

oe The Bee reported in Februaty that. last year, the’ new parole model resulted i in 2, 529 9 fewer Malo oe RTS
2 ‘parolees’ returned. to prison on ‘technical parole: violations than’ In. 2003; At the same time,’
". .2)141 more parolees’ went-back to prison after committing new crimes. a correlation Mat a
; © parale agents thrdughout the, state said’ was directly, related. to. the new; parole’ policy. -” Sor

oO Can’ Macallair, executive: director. of the Centar on Criminat’ and Juvenite Justice i in San
.. “> Francisca; sald. the retreat signals. that meaningful changes.in, the. Parole system - key to .
-  \-eutting the state's 162,000 | prison. papulation: and, rultimately, cost ‘in the © $7.b billion. -
, 1 gorrectional: system - have ‘been all: but shelved.” : oo Ce ee

2 4/12/2005 1 09 PM “

whe correction: reform in: California 1s: dead. But ts: dying. Me

- : : ‘Macallatr’ ‘accused the administration of ‘packing down. from the + politically, ififiuendial ‘prison’
“. officers' union, whose leadership, hag, been farshly-¢r critical of Gov. Amold ‘Schwarzenegger:

: 2980 far, most of the. Schwarzenegger ‘administration’ 5 feform efforts have. been’ rirhetort, 1 not
, reality; Macallaic sdid. "don't know where they: will go. from. here. t 1. don’ t: want, to ‘say o:

ie and: Hickman.”

: vin. recent weeks, ‘victims? rights groups sana television’ advertisement - ‘funded By the,
prison cops’. union + that hit the Republican. governor hard on. the fener: reincarceratlons
~~ produced by: the’ new parole model, : : Cote, 2,

~° pulling: back the | program: did tittle: to assuage e their criticisms. . oo :

-“Uschwarzenegger's Ss detractors also have blastad the. governors release of moré than 90

Ilfe-term: inmates,’ his $90 million budget cut in rehabilitation funding: ‘In the prisons, the.

_ administration's consolidation of three’ parole review boards ‘Inte one and Its freelng ofa an’
.  &ntold numberof reincarcerated parolees Who weran’t afforded: timely | Board, of Prison
“ Terms: hearings. oe BT :

- "There's:nio faith i in. this administration," said Don Novey, the. foriner president of: the. ve
California Correctional Peace Officers Association and now a political consultant. to the,
: union. “He Just doesn! t get it." ne oo. : we

- Hickman responded: that “this. governor, this administration, has been the only. :
-administratton In the-last few to take on the correctional challenge, to look at what's. going:
~ onin regards to the: ‘safety of Californians and to. attempt to do something , Proactive. about -

aa ete rights graups, on: the eve. a of. their. anil march. ‘on the: Capitol scheduled: for today;
_ welcomed Schwarzenegger's decision. to abandon, the Parole plan. But. ‘they still: oppose. a key
“elements « of the administration’ 3 corrections overhaul. oe co oa

Topping the’ list. far Harriet Salarno, the president’ Of Crime Victims’ Urilted of calor, is”

- . » “Schwarzenegger's approval of 94. releases for life-term inmates In a:year-and a half,
compared to ‘only, six in: five years under the previous administration of: Gray Davis.

a “That is. the most ‘disturbing, sald Salarno,, whose daughter was slain i in: 1979 by a man ,
-who was: sentenced. to 15 years ‘to. life in prison and is: eligible for: ‘parole, "These fers ~
’ committed heinous, heinous: crimes and d'they a are dangeraus to society. We need to 0 protect
public safety. first.” ae fi . a

. The victims’. groups ‘also. are: fuming. about the prison § system’ S reorganization - “approved ”

a o Monday. by the state: Senate * “that; ‘consolidates the. youth, adult and. 6 drug o| offender parole oe oe me

boards into: one panel, : wns

- “Christine Ward of. the Crime Vietims "Bureau called the consoldation "a really bad plan.” " me

“we: think the three boards , Birnead ti to be. ‘independent, ‘she said.

| We need independent t
commissioners, to make sure they'i re working: best: for everybody Be at SE
On’ ‘Monday; a ‘thobile: billboard funded the correctional ‘offi Gers cirdled ths Capt,

yccusing: ‘Schwarzenegger. of “attacking fief ig hters;, ‘teachers; ¢ nurses and cops * making,
clear, that criticism of the ‘governor's prison. policles will: continue - oe ve

ee

oe . “*Thetr fi first message to the people: stiould be for public ‘safety, not some great economic ©

: -¢harge.of sdvernment to. protect the: public.?- wo

“game ‘plan, ex-CCPOA: President Novey said of the: > administration, “That's the number-one.

4712/2003.1:09 PM " .

: hee oom Sete : Re “Bote ment er » sliconauieoncegiaiarasn ”

Ae The. Bee's Andy Furilio c can. be reached at (946) 321: “Aidt or
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